Case 1:16-cr-20897-PAS Document 114 Entered on FLSD Docket 05/01/2019 Page 1 of 54
   CONFIDENTIAL                                         September 21, 2018



                                          UNITED STATES DISTRICT COURT
                                          SOUTHERN DISTRICT OF FLORIDA

                                                 Case No.: 16-20897-CR-SEITZ

   UNITED STATES OF AMERICA

                        v.

   PRINCESS CRUISE LINES, LTD.,

                     Defendant.
   ________________________________/

             QUARTERLY REPORT OF THE COURT APPOINTED MONITOR (SEPTEMBER 2018)

   I.    Introduction ............................................................................................................................1
         A. Overview of CAM Quarterly Report ................................................................................ 1
         B. Areas of Focus ................................................................................................................... 2
   II. CAM Methodology and Activities ........................................................................................6
         A. CAM Second Annual Work Plan ...................................................................................... 6
             1.      Additional Court-Ordered Vessel Visits .................................................................... 6
             2.      Unannounced CAM and TPA Vessel Visits and Audits ........................................... 8
         B. CAM Team Activities during the First Quarter of ECP Year Two ................................... 8
         C. TPA Audit Activities ......................................................................................................... 9
         D. RAAS Audit Activities.................................................................................................... 10
   III. Updates on Company Capabilities to Meet ECP Objectives and
        ECP Year Two Areas of Focus ...........................................................................................10
         A. Environmental Incidents ................................................................................................. 10
         B. Implementation of ECP Requirements ............................................................................ 15
         C. Initiatives beyond ECP Requirements............................................................................. 16
         D. Personnel ......................................................................................................................... 17
         E. Corporate Structure and CCM Authority ........................................................................ 18
             1.      Centralization ........................................................................................................... 18
             2.      CCM Authority ........................................................................................................ 21
         F. Culture ............................................................................................................................. 22
             1.      Compliance Culture Assessment ............................................................................. 22
         G. Investigations .................................................................................................................. 23
Case 1:16-cr-20897-PAS Document 114 Entered on FLSD Docket 05/01/2019 Page 2 of 54
   CONFIDENTIAL                                         September 21, 2018



        H. Training ........................................................................................................................... 25
        I. Strategic Planning and Resources for Operations and Compliance ................................ 27
            1.      CAM Interactions with Company Representatives ................................................. 27
            2.      CAM Retention of Forensic Accountant ................................................................. 28
        J. Company Vessel Visit Programs..................................................................................... 29
            1.      Context ..................................................................................................................... 29
            2.      Review of Company Document Production ............................................................ 30


   Appendix A: ECP Year Two CAM Recurrent Incident Categories .............................................32
   Attachment 1: CAM Second Annual Work Plan ..........................................................................35




                                                                        ii
Case 1:16-cr-20897-PAS Document 114 Entered on FLSD Docket 05/01/2019 Page 3 of 54
   CONFIDENTIAL                                                           September 21, 2018


   I.       INTRODUCTION

            Pursuant to the Court’s Orders of April 26, 2018, Dkt. No. 66, and July 13, 2018, Dkt.

   No. 75, the Court Appointed Monitor (“CAM”) submits this first quarterly report for ECP Year

   Two (“CAM Quarterly Report” or “Report”). 1

            A.      Overview of CAM Quarterly Report

            The Court ordered that the CAM submit Quarterly Reports to provide updates about

   issues identified by the CAM and the Court. 2 This Report focuses on events and developments

   occurring during the period from April 19, 2018 through August 18, 2018. However, certain

   notable developments occurring after August 18, 2018 are included in the discussions below, as

   appropriate.

            Part II of this Report provides an overview of the current CAM Team methodology and

   activities so far in ECP Year Two, and will cover additional audits and visits by the TPA and

   CAM conducted pursuant to the Court’s Order of July 13, 2018, Dkt. No. 75. Part II also

   presents an overview of the CAM’s oversight of the TPA and of the Company’s audit function

   conducted by its Risk Advisory and Assurance Services (“RAAS”) department.

            Part III of this Report provides updates on the Company’s capabilities to meet ECP

   objectives, the Company’s efforts with respect to ECP compliance, and other areas of focus. Part

   III also provides updates on other actions ordered in the Court’s Order of July 13, 2018, Dkt. No.

   75. This Quarterly Report does not provide the more detailed assessments or findings regarding

   the Company’s performance in the areas of focus that will be found in the Annual Report for



   1
     Any terms not defined in this Report take the definitions provided in the First Annual Report of
   the Court Appointed Monitor (2017-2018) (“CAM First Annual Report”), the ECP, or the Joint
   Glossary of Terms, Dkt. No. 58-1.
   2
       There will be no Quarterly Report for quarters in which the CAM issues an Annual Report.


                                                    1
Case 1:16-cr-20897-PAS Document 114 Entered on FLSD Docket 05/01/2019 Page 4 of 54
   CONFIDENTIAL                                                          September 21, 2018


   each year. This is consistent with the CAM’s approach of avoiding assessments or findings

   based on limited amounts of information and also furthers the CAM’s ability to maintain the

   promised confidentiality of information received from Company personnel during CAM

   interviews. Consistent with the above, however, in certain circumstances the CAM may provide

   assessments and findings in subsequent Quarterly or Annual Reports.

          B.      Areas of Focus

          The CAM First Annual Report, submitted on June 21, 2018, made a total of twelve

   findings: eight findings describing progress with respect to the Company’s capabilities to meet

   ECP requirements and objectives (including efforts beyond requirements of the ECP) and four

   findings of as yet unresolved barriers to sustainable compliance and opportunities for

   improvement.

          In brief, the CAM First Annual Report’s findings related to the Company’s progress

   regarding ECP objectives were:

               No Repeat of the Underlying Offenses. The CAM was not aware of any
               Covered Vessels having repeated the conduct for which the sentence was
               imposed (although other types of prohibited discharges and record
               falsifications had occurred).

               Substantial Implementation of Enumerated ECP Year One
               Requirements. The Company appeared to have substantially implemented
               the many ECP Year One requirements, involving significant effort by
               hundreds of employees, on ship and on shore.

               Qualified and Dedicated Compliance Personnel. The Company selected a
               CCM and OLCMs with significant maritime experience and clear dedication
               to their work.

               Employee Cooperation and Awareness of Environmental Obligations.
               Employees, both on ship and on shore, were nearly universally cooperative
               and evidenced broad comprehension of their environmental obligations.




                                                   2
Case 1:16-cr-20897-PAS Document 114 Entered on FLSD Docket 05/01/2019 Page 5 of 54
   CONFIDENTIAL                                                         September 21, 2018


              Initiatives Beyond the Enumerated ECP Requirements. The Company
              has implemented a variety of initiatives related to environmental compliance
              that go beyond the enumerated requirements of the ECP.

              CSMART Training Center. The Company used its existing training
              resource, the Center for Simulator Maritime Training (“CSMART”) in
              Almere, The Netherlands, to implement some of the training required by the
              ECP.

              Review and Improvements to Internal Investigation Process. The
              Company engaged a third party to help address identified weaknesses in the
              internal investigation capability across the company.

              Culture Survey. The Company agreed to the CAM’s request to conduct an
              environmental compliance culture survey in order to set a benchmark for the
              Company’s current culture.

   See CAM First Annual Report at 3-4.

       The CAM’s findings of unresolved barriers to compliance and opportunities for

   improvement were:

       (1)    Challenges of the Complex Corporate Structure. The complex corporate
              structure and lack of centralization has been widely identified as a barrier to
              continuous improvement on compliance issues. In addition, there is a lack of
              clarity as to responsibility, accountability, and authority for environmental
              compliance. Nor does the CCM possess the ECP-required “authority to
              ensure full implementation of [the] ECP.” ECP § III.A.2.

       (2)    Blame Culture and Lack of Learning Culture. A blame culture, with a
              focus on identifying errors and disciplining individuals rather than also
              evaluating systemic issues that may need to be addressed, appears
              widespread.

       (3)    Ineffective Internal Investigations. As noted above, the Company’s
              internal investigations are critically flawed, with no consistent, reliable
              means to investigate incidents or near misses and identify root causes that
              can lead to meaningful corrective actions.

       (4)    Environmental and ECP Violations. During ECP Year One, the Company
              violated environmental laws and the ECP.

   See CAM First Annual Report at 4-5.




                                                  3
Case 1:16-cr-20897-PAS Document 114 Entered on FLSD Docket 05/01/2019 Page 6 of 54
   CONFIDENTIAL                                                            September 21, 2018


          Based on the CAM’s findings and observations, the CAM also identified the following

   seven areas of focus for ECP Year Two: (1) an initial culture survey; (2) internal investigations;

   (3) training; (4) resources for operations and compliance; (5) shoreside support for vessels;

   (6) personnel, in particular Environmental Officers, engineers, and ratings; and (7) Company

   vessel visit programs. See CAM First Annual Report at 68-74.

          On June 18, 2018, the Third Party Auditor (“TPA”) submitted its Third Party Auditor

   Year One Annual Report (“TPA First Annual Report”). Based on audits of thirty-one vessels

   and six shoreside facilities, the TPA First Annual Report made a number of observations and

   recommendations that were consistent with the findings in the CAM First Annual Report. The

   TPA made the following six recommendations:

       (1)     Policies and Procedures. Update incomplete, vague or non-existent policies or
               procedures within Global HESS.

       (2)     Vulnerabilities. Re-evaluate the “vulnerability assessment” (which is the
               methodology for the placement of seals, welds, locks and other controls) for all
               covered vessels to a more manageable and realistic approach to risks of an overboard
               discharge as described by the ECP.

       (3)     Record Keeping. Training should emphasize the importance of and legal obligation
               of factual, accurate, and timely log entries. Consider incorporating electronic record
               keeping where applicable and authorized by regulatory requirements.

       (4)     Training. Adopt a single IT platform across the Organization to allow for
               consistency and effective record keeping. Update all ECP training modules to reflect
               current state and effectively cover basic ECP requirements.

       (5)     Investigation. Update investigations Policies and Procedures. Adopt a centralized
               Root Cause Analysis program with procedure and implement it throughout the
               corporation. Make this program the standard for all personnel conducting
               investigations at all levels.

       (6)     Critical Spare Part[s]. Adopt a single centralized IT platform across the
               Organization to improve consistency and effective part management, identify
               specifically required critical spare parts and improve tracking and delivery of critical
               spare parts.

   TPA First Annual Report at 3.


                                                    4
Case 1:16-cr-20897-PAS Document 114 Entered on FLSD Docket 05/01/2019 Page 7 of 54
   CONFIDENTIAL                                                            September 21, 2018


          Following the submission of the CAM and TPA annual reports, a Status Conference was

   held on July 11, 2018. During that hearing, the Court took notice of several efforts by the

   Company to send teams to ships in advance of TPA audits (described informally as “vessel visit

   programs”), and concluded that these actions by the Company’s management had resulted in a

   “taint” on the ability of the audits to provide a reliable benchmark to the Court of current ship

   conditions. See Status Conf. Tr. at 11 (July 11, 2018). In order to address this issue and others,

   and with the agreement of the Interested Parties, on July 13, 2018, the Court entered an Order

   requiring, among other things, that:

       (1)     All future audits and vessel visits by the TPA and CAM be unannounced and
               that, by August 1, 2018, the Company propose a plan as to whether and how
               these unannounced audits and vessel visits can be facilitated;

       (2)     During ECP Year Two, ten additional vessel and five additional shoreside
               facility audits and/or visits by the TPA and/or CAM be conducted and that,
               by August 1, 2018, the Parties inform the Court of a plan as to how these
               additional audits and/or visits will be conducted and by whom;

       (3)     By September 5, 2018, 3 the Company provide a plan for how Carnival and its
               brands will address the challenge of corporate structure set forth in the CAM
               First Annual Report, including prioritizing and standardizing environmental
               compliance across the Company and establishing a Corporate Compliance
               Manager (“CCM”) with both responsibility and authority over environmental
               policy and the ECP;

       (4)     By September 5, 2018, the Company complete production of records
               responsive to the Government’s pending document requests regarding the
               Company’s “vessel visit programs”;

       (5)     By September 21, 2018, the Company provide a proposed timeline for
               establishing and implementing the recommendations made by third party
               consultants DNV-GL for improving and standardizing the Company’s
               internal investigation processes across all brands; and



   3
    The Court extended this deadline until September 17, 2018 for the plan addressing the first part
   of the order—i.e., the challenge of corporate structure and the prioritization and standardization
   of environmental compliance. See Dkt. No. 83; see also infra, Part III.E.


                                                    5
Case 1:16-cr-20897-PAS Document 114 Entered on FLSD Docket 05/01/2019 Page 8 of 54
   CONFIDENTIAL                                                                September 21, 2018


         (6)    By the next Quarterly Status Conference, currently scheduled for October 3,
                2018, Company representatives meet and confer with the CAM to discuss
                how the Company’s long-term strategic plans are formulated, including how
                environmental compliance has been made part of those plans and how
                environmental protection is being incorporated as a priority into the
                Company’s strategic plans and culture in a long-term sustainable manner.

   Dkt. No. 75 at 1-3.

   II.     CAM METHODOLOGY AND ACTIVITIES

           A.      CAM Second Annual Work Plan

           As provided for in the Monitor Agreement, the CAM prepared a Second Annual Work

   Plan and Budget of the Court Appointed Monitor (“Second Annual Work Plan”), attached as

   Attachment 1. The work of the CAM during ECP Year Two was categorized into the following

   thirteen primary work streams: (1) management and contingencies; (2) document and data

   review; (3) interviews, site visits, and events; (4) vessel visits; (5) shoreside facility visits;

   (6) compliance culture assessment; (7) reporting; (8) strategic planning and resources for

   operations and compliance; (9) corporate structure and CCM authority; (10) investigations;

   (11) training; (12) personnel; and (13) review and analysis of the Company’s “vessel visit

   programs.” These work streams reflect the CAM’s current plan for work to be done during ECP

   Year Two, but, as noted in the Second Annual Work Plan, this plan may be modified if required

   by the Court or by circumstances that arise during the course of the year.

                   1.      Additional Court-Ordered Vessel Visits

           In accordance with the Court’s Order described above, the Second Annual Work Plan

   includes a plan, developed in consultation with the TPA, for performing the ten additional vessel

   and five additional shoreside facility audits and/or visits 4 ordered in the Court’s Order of July 13,


   4
     The TPA conducts vessel and shoreside audits, while the CAM conducts vessel and shoreside
   visits. The distinction being that the ECP requires the TPA to conduct specified technical
   reviews, see ECP §§ VIII-IX, while the CAM is required to oversee the audits of the TPA, the


                                                       6
Case 1:16-cr-20897-PAS Document 114 Entered on FLSD Docket 05/01/2019 Page 9 of 54
   CONFIDENTIAL                                                           September 21, 2018


   2018. See Dkt. No. 75 at 1-2. The Company and the Government have proposed this plan to the

   Court. See Dkt. No. 78.

          For the ten additional vessel visits and/or audits, the CAM and the TPA will each conduct

   five vessel visits or audits. See Second Annual Work Plan at 8. The CAM Team may

   accompany the TPA on one or more of the five additional TPA vessel audits, and the TPA may

   accompany the CAM Team on one or more of the five additional CAM vessel visits. The CAM

   Team and the TPA are collaborating on the logistics for these additional visits and audits. See id.

          For the five additional shoreside facility visits and/or audits, the CAM Team will lead all

   five visits. Id. at 9. The TPA may participate in some or all of the five visits. Id. The CAM

   Team will use these visits to concentrate on its ECP Year Two areas of focus, as well as to

   comply with the Court’s Order to explore how “long-term strategic plans are formulated,

   including how environmental compliance has been made part of those plans and how

   environmental protection is being incorporated as a priority into the Company’s strategic plans

   and culture in a long-term sustainable manner.” Dkt. No. 75 at 3. These visits may also involve

   assessment of systemic issues identified by the TPA, such as deficiencies in policies and

   procedures and continuous improvement efforts, or other areas of inquiry that may arise during

   the course of ECP Year Two. See Second Annual Work Plan at 10. In support of this effort, the

   CAM received approval from the company for the CAM to retain AlixPartners, a forensic

   accounting and investigations firm with extensive domestic and international experience, to

   provide the CAM with consulting support on corporate compliance issues related to strategic

   planning, finance, and budget.



   Company’s internal audit function (RAAS), as well as the Company’s overall efforts at
   developing a sustainable compliance approach. See ECP § VI.


                                                   7
Case 1:16-cr-20897-PAS Document 114 Entered on FLSD Docket 05/01/2019 Page 10 of 54
   CONFIDENTIAL                                                            September 21, 2018




                   2.      Unannounced CAM and TPA Vessel Visits and Audits

            As required by the Court, and noted in the Second Annual Work Plan, on August 2, 2018,

   the Company provided an interim proposal to facilitate unannounced TPA and CAM audits and

   vessel visits in response to the Court’s Order of July 13, 2018. The Company’s proposal stated:

            Although the exact details of the plan for unannounced ship visits or audits are still being
            finalized, the parties have agreed on an interim basis to a general proposal, pending
            approval from this Court, whereby the CAM and TPA will continue to follow many of
            the same procedures employed in the past, namely that the CAM or TPA will notify the
            Company of their respective ship visits or audits on ‘short notice,’ generally no more than
            a week before the CAM or TPA is prepared to begin their respective ship visits or audits.
            The CAM or TPA shall contact Christopher Donald, the Company’s Corporate
            Compliance Manager, who will serve as the primary point of contact to facilitate the
            CAM’s or TPA’s ship visits or audits. Mr. Donald will also work with a designated
            representative(s) of the Company who is not associated with the implementation of the
            Environmental Compliance Plan (hereinafter ‘Designated Persons’) to assist the CAM
            and TPA in completing all necessary booking obligations. Mr. Donald and the
            Designated Persons will be required to keep all booking information in strict confidence.

   Dkt. No. 78 at 1-2.

            The CAM Team visited two vessels following the Court’s July 13, 2018, Order and

   before the date of this Report. 5 The CAM gave notice of these visits to Mr. Donald a week in

   advance of the date of embarkation, and, although the Company had not at the time identified the

   designated representatives (it has since done so), when the CAM Teams arrived onboard, there

   was no indication that any vessel personnel had been made aware of the CAM Teams’

   impending visits.

            B.     CAM Team Activities during the First Quarter of ECP Year Two

            During the period covered by this Report—April 19, 2018 through August 18, 2018—the

   CAM Team conducted five vessel visits (two CAM-specific visits and three TPA follow-up


   5
       The visits were conducted on the Carnival Triumph and the P&O UK Aurora.


                                                     8
Case 1:16-cr-20897-PAS Document 114 Entered on FLSD Docket 05/01/2019 Page 11 of 54
   CONFIDENTIAL                                                         September 21, 2018


   visits) and one shoreside facility visit (during which the CAM Team monitored a RAAS audit). 6

   In addition, on July 12, 2018, the CAM Team accompanied representatives from the Court, the

   Company, and the U.S. Coast Guard, for a brief vessel visit in the Port of Miami, designed to

   familiarize the Court with relevant ship systems and operations.

          Outside of CAM vessel and shoreside facility visits, the CAM Team has attended various

   Company meetings, conferences, and events, and conducted additional formal and informal

   interviews with Company personnel, as discussed below. The CAM Team also continues to

   engage in regular communication with the Company and performs ongoing review of documents

   produced by the Company in relation to the work streams identified in the Second Annual Work

   Plan and in response to information requests by the Department of Justice.

          C.      TPA Audit Activities

          From the period covered by this report— April 19, 2018 through August 18, 2018—the

   TPA conducted ten vessel audits and two shoreside audits. The CAM continues to communicate

   regularly with the TPA, review TPA audit reports, and evaluate the adequacy and independence

   of the TPA.

          From August 25 to August 28, 2018, the CAM Team accompanied TPA auditors during a

   shoreside audit of CUK’s headquarters in Southampton, United Kingdom. During the audit, the

   CAM Team accompanied the TPA auditors during their interviews, while also performing a

   limited number of CAM-specific interviews. CUK also provided the CAM Team with a preview

   of SeaEvent, an incident and near miss reporting system that is under development, as well as

   several media projects related to CUK’s compliance culture. Both the CAM and TPA teams



   6
    Since August 18, 2018, the CAM Team accompanied the TPA on a shoreside visit to Carnival
   UK (“CUK”).


                                                   9
Case 1:16-cr-20897-PAS Document 114 Entered on FLSD Docket 05/01/2019 Page 12 of 54
   CONFIDENTIAL                                                          September 21, 2018


   explored CUK’s implementation of the ECP, as well as the operating line’s ECP Year One

   challenges and successes with environmental compliance.

            The CAM’s oversight of the TPA during ECP Year Two has affirmed the CAM’s

   assessment that the TPA acts with independence and performs adequate ECP-required audits.

            D.     RAAS Audit Activities

            During the first quarter of ECP Year Two, RAAS conducted thirty-five vessel audits 7 and

   three shoreside audits. The CAM Team attended the shoreside RAAS audit of the Carnival

   Maritime Group (“CMG”) headquarters in Hamburg, Germany from June 19 to June 22, 2018.

   During the audit, the CAM Team accompanied RAAS auditors during their audit activities,

   while also performing a limited number of CAM-specific interviews. The CAM-specific

   discussions focused on CMG’s budget process, incident reporting mechanisms, and systems for

   tracking environmental waste streams. CMG provided the RAAS and CAM Team with a tour

   and overview of the Fleet Operations Center, which supports both CMG and CUK fleets. The

   CAM Team also spent time observing the RAAS auditors’ process, including the approach to

   finalizing audit report findings. The observations of RAAS made during this visit were

   consistent with those in the CAM First Annual Report. See CAM First Annual Report at 63-67.

   III.      UPDATES ON COMPANY CAPABILITIES TO MEET ECP OBJECTIVES AND ECP YEAR
             TWO AREAS OF FOCUS

            A.     Environmental Incidents

            The CAM is unaware of any evidence of a recurrence on the Company’s Covered

   Vessels, since the start of the ECP, of the same criminal conduct that occurred on the Caribbean




   7
       This number includes an audit that began on August 17, 2018, and ended on August 25, 2018.


                                                   10
Case 1:16-cr-20897-PAS Document 114 Entered on FLSD Docket 05/01/2019 Page 13 of 54
   CONFIDENTIAL                                                            September 21, 2018


   Princess—i.e., intentional bypass of pollution prevention equipment to discharge oily waste

   water coupled with intentional falsification of records and conspiracy to conceal such illegal acts.

            However, as in ECP Year One, there continue to be environmental violations and ECP

   compliance issues, including discharges in restricted areas or discharges of prohibited wastes.

   The CAM Team continues to track the type and frequency of incidents reported through formal

   and informal reporting mechanisms, including TPA audit findings, Notices of Violation, Open

   Environmental Reporting, and Flash Reports. As part of this tracking, the CAM Team trends

   both total reported incidents and categories of recurrent incidents that the CAM Team has

   identified, such as training issues, non-compliant discharges, and bilge leaks, as described more

   fully below.

            As noted in the CAM First Annual Report, however, the data, even when trended, do not

   paint a full picture of the effectiveness of the Company’s compliance efforts. It is important to

   consider that higher numbers of incident reports may well reflect greater willingness to report,

   and even when the issues reported appear to be of a minor or even inconsequential nature, such a

   willingness to report is significant. 8 Thus, the data provided are to be considered with these

   caveats and perspectives in mind.

            During the period covered by this Report, 9 the CAM Team tracked and analyzed 909

   Flash Report incidents, thirteen Notices of Violation, one Environmental Open Report, thirteen

   Major Non-Conformity findings from TPA and/or CAM vessel audits and/or visits, and 353




   8
    Notably, criminal violations on the Caribbean Princess went on for years, and yet no one made
   any documented internal reports. It remains to be seen whether the Company will foster a
   culture of more open reporting.
   9
       Tables 1-3 are based on data from April 19 through August 28, 2018.


                                                    11
Case 1:16-cr-20897-PAS Document 114 Entered on FLSD Docket 05/01/2019 Page 14 of 54
   CONFIDENTIAL                                                               September 21, 2018


   incidents determined to be Major Non-Conformities from all sources, including Company Flash

   Reports. Table 1 shows these incidents for Covered Vessels by operating line:

                               Table 1: Incident Report Counts
                                                                         Major Non-      Total Major
                                                                         Conformity      Non-
                            Flash Report   Notices of    Environmental
             Brand                                                       Vessel Visit/   Conformities 12
                            Incidents 10   Violation     Open Reports
                                                                         Audit
                                                                         Findings 11
    AIDA                          39            2                0              2               20
    Carnival Cruise Line         323            1                0              4              146
    Costa                         32            0                0              1               11
    Cunard                        62            1                0              1               15
    Holland America Line         119            1                0              2               51
    P&O Cruises UK               130            2                0              2               18
    Princess                     162            6                0              1               68
    Seabourn                      42            0                1              0               24
             Total               909            13               1             13              353



             The total number of incidents are also a function of the relative sizes of the respective

   fleets. For example, there are twenty-five vessels in Carnival Cruise Line covered by this data,

   but only three vessels from Cunard. Weighted ratios to reflect the rates of Flash Report incidents

   relative to the size of each fleet are shown in Table 2.

             [See Table 2 on following page.]




   10
        This category includes incidents categorized as “near misses.” See Appendix A.
   11
     This category only includes Major Non-Conformity findings from the TPA and the CAM in
   connection with vessel or shoreside audits and/or visits. It does not include self-reported
   incidents from the Company (e.g., Flash Reports) that also are determined to be Major Non-
   Conformities.
   12
      This category reflects the total number of incidents determined to be Major Non-Conformities,
   regardless of the form of the initial report (e.g., Flash Report). This column is based on data
   from April 19 through September 7, 2018.


                                                        12
Case 1:16-cr-20897-PAS Document 114 Entered on FLSD Docket 05/01/2019 Page 15 of 54
   CONFIDENTIAL                                                                   September 21, 2018


                      Table 2: Weighted Index of Flash Report Incidents by Operating Line
                       Incident      Covered         % Total       % Total Covered       Incident Index 13
        Brand                                                                           (% Incidents / % Covered
                         Count        Vessels       Incidents           Vessels                 Vessels)
    AIDA                  39             4            4.29%             5.26%                    0.82
    Carnival Cruise
                          323            26          35.53%             33.77%                   1.05
    Line
    Costa                 32             3            3.52%             3.95%                    0.89
    Cunard                62             3            6.82%             3.95%                    1.73
    Holland America
                          119            14          13.09%             18.42%                   0.71
    Line
    P&O Cruises UK        130            8           14.30%             10.00%                   1.43
    Princess              162            18          17.82%             23.68%                   0.75
    Seabourn              42             5            4.62%             6.17%                    0.75
         Total            909            76          100.00%           100.00%



           Table 3 provides an overview of the recurrent incidents. 14 Discharges and training issues

   are the most prevalent incidents across all brands.

           [See Table 3 on following page.]




   13
     A brand with an index below “1” is reporting fewer incidents per vessel than anticipated for its
   respective fleet size. Conversely, a ratio above “1” is reporting more incidents per vessel than
   anticipated for its respective fleet size.
   14
     The CAM Team continues to develop its categories of recurrent incidents to better analyze and
   assess reported incidents. A table with definitions of the current incident categories is included
   as Appendix A.


                                                      13
Case 1:16-cr-20897-PAS Document 114 Entered on FLSD Docket 05/01/2019 Page 16 of 54
   CONFIDENTIAL                                                                 September 21, 2018


                                      Table 3: Incidents by Recurrent Issues
                                    Row Labels                      Incident Count 15
                     Discharges                                           429
                     Training                                             273
                     Bilge Leaks/Overflows                                114
                     Passenger Issue                                      109
                     Pollution Prevention Equipment                       102
                     Near Miss                                             96
                     Seals or Locks                                        73
                     Lifeboat/Tender                                       43
                     Recordkeeping                                         36
                     Vendor Issue                                          35
                     EGCS                                                  29
                     Refrigerants                                          23
                     Voyage Planning                                       21
                     Disciplinary Action                                   18
                     Emissions/Opacity                                     15
                     Environmental Officer                                 15
                     Alarms (Faulty)                                       12
                     Spare Parts (Non-Critical)                            9
                     Alaska Permit Sampling                                8
                     Fuel Sulphur Content                                  7
                     Portable Pumps                                        7
                     Contractor Issue                                      6
                     Fuel Leak (Internal)                                  4
                     Manning                                               4
                     Not Applicable                                        4
                     Shoreside Support/Resources                           4
                     Ballast Tank                                          2
                     Hotline                                               1
                     Marine Mammal/Whale Strike                            1




   15
     A single incident may fall under one or more recurrent issue categories. For example, a
   discharge attributable to a failure to follow a Company procedure may be tagged as both a
   “discharge” and a “training” issue. Similarly, a discharge that subsequently is recovered may be
   tagged as both a “discharge” (although not a Major Non-Conformity) and a “near miss.”
   Therefore, the total number of incidents reflected in Table 3 will be greater than the incident
   counts in Tables 1 and 2.


                                                       14
Case 1:16-cr-20897-PAS Document 114 Entered on FLSD Docket 05/01/2019 Page 17 of 54
   CONFIDENTIAL                                                        September 21, 2018


          B.     Implementation of ECP Requirements

          As discussed in the CAM First Annual Report, the Company appears to have

   substantially complied with enumerated ECP Year One requirements. See CAM First Annual

   Report at 13-14 and Appendix D. Two additional requirements apply to the period covered by

   this Report. The Company was required to develop and submit a response to the TPA’s First

   Annual Report. ECP § VIII.E.3. The Company was also required to update the Environmental

   Management System as necessary within 60 days of receipt of TPA’s First Annual Report and to

   submit its updated Environmental Management System to the Interested Parties, the TPA, and

   the CAM. ECP § X.A.2. The Company submitted letters in response to these requirements on

   August 16, 2018.

          The CAM Team met with the TPA to discuss the Company’s response to the TPA’s First

   Annual Report. Overall, in its response, the Company did not challenge the TPA’s findings and

   observations and was receptive to the TPA’s recommendations. The response noted that “the

   Company welcomes this opportunity to improve its Environmental Management system. The

   observations and recommendations identified in the TPA report will serve as the template to

   enhance the Company’s compliance procedures and processes beyond the probation period.”

   Letter from C. Donald, Company Response to the Third Party Auditor Year One Annual Report 5

   (Aug. 16, 2018), PCL_DOJ_00005728 at 1 (“Response to TPA First Annual Report”).

          As evidenced by the Company’s responses, many of the TPA’s recommendations call for

   significant undertakings by the Company. For example, the TPA recommended that the

   Company “[r]eview all Policies and Procedures, update incomplete or vague policies and

   procedures and develop new and effective policies and procedures where none exist as required

   per our audit findings.” See TPA Year One Annual Report at 5. In its response, the Company




                                                 15
Case 1:16-cr-20897-PAS Document 114 Entered on FLSD Docket 05/01/2019 Page 18 of 54
   CONFIDENTIAL                                                           September 21, 2018


   outlined a multi-pronged approach through which it asserted it will seek to address this TPA

   recommendation and incorporate enhancement of its policies and procedures “as part of our

   ongoing commitment to continuous improvement.” Response to TPA First Annual Report at 1-

   4. Given the extended timeframe necessary to comprehensively address this TPA

   recommendation, it is not possible to assess the effectiveness of the Company’s efforts at this

   time. The CAM is similarly constrained in assessing the Company’s efforts to address the TPA’s

   recommendations in the areas of vulnerability assessments, recordkeeping, training,

   investigations, and critical spare parts. The Company’s letter describing its Environmental

   Management System is detailed and incorporates hundreds of policies, procedures, and

   supporting documentation. The CAM Team is currently evaluating this submission, and will

   continue to track the Company’s progress and provide updates.

          C.      Initiatives beyond ECP Requirements

          The Company also continues to develop and implement a number of additional initiatives

   that go beyond the enumerated ECP requirements. Many of these efforts are related to the

   Operation Oceans Alive program, which launched in January 2018, and includes the “Top 5” and

   “Environmental Excellence Awards” programs. 16 See CAM First Annual Report at 19-21 and

   Appendix B. The Company has communicated that it is “developing a plan to sustain and grow

   the [Operation Oceans Alive] program in 2019.” See July 2018 USPO Supervision Report,

   Attachment 3, at 3. Beyond the Operation Oceans Alive program, the Company continues to



   16
     The Top 5 list recently was updated in the June ECP newsletter from Carnival’s Chief
   Maritime Officer. The current Top 5 list is: (1) Ensure compliant waste stream and ballast water
   discharges; (2) Ensure no tampering or unauthorized modifications to pollution prevention
   equipment; (3) Properly identify and control vulnerable vales, fittings and portable pumps;
   (4) Ensure use of compliant fuels and EGCS operation; and (5) Report leaks to the bilge and
   make timely repairs. See June 2018 ECP Newsletter.


                                                   16
Case 1:16-cr-20897-PAS Document 114 Entered on FLSD Docket 05/01/2019 Page 19 of 54
   CONFIDENTIAL                                                           September 21, 2018


   pursue a variety of initiatives related to communication, engineering, training, environmental

   policies and procedures, and incident investigations. See, e.g., id. at 1-4. The CAM will

   continue to evaluate these initiatives and provide updates as appropriate.

             D.    Personnel

             During ECP Year One, the CAM received information suggesting that the Company may

   face challenges with respect to the availability and retention of qualified personnel. This

   challenge may be a broader industry issue as well. 17 The CAM First Annual Report identified

   personnel issues related to compliance, including the Environmental Officer position, staffing

   and training of engineers, and hiring and training of ratings as an area of focus for ECP Year

   Two. See CAM First Annual Report at 72-73. The CAM is examining these issues during

   shoreside and vessel visits, and is planning to visit one or more manning agencies in ECP Year

   Two. 18

             From September 11-13, 2018, the CAM Team attended the Company’s first

   Environmental Commitment Conference in Almere, The Netherlands. The conference was

   organized by the CCM and his team and provided Environmental Officers a forum to gather and

   share their experiences, challenges, and suggestions, both with one another and with shoreside


   17
     In the maritime labor market generally, demand for qualified personnel, especially officers,
   may outpace supply. See, e.g., Int’l Chamber of Shipping, Global Supply and Demand for
   Seafarers, http://www.ics-shipping.org/shipping-facts/shipping-and-world-trade/global-supply-
   and-demand-for-seafarers (noting that, for merchant shipping, “[w]hile the global supply of
   officers is forecast to increase steadily, this trend is expected to be outpaced by increasing
   demand”). The industry and relevant stakeholders “should not expect there to be an abundant
   supply of qualified and competent seafarers without concerted efforts and measures to address
   key manpower issues, through promotion of careers at sea, enhancement of maritime education
   and training worldwide, addressing the retention of seafarers.” Id.
   18
      Manning agencies are “companies that act as an employment agency for seafarers. Seafarers
   use them to find employment at sea and shipping companies use them to source crew.”
   http://sea-jobs.net/encyclopediaen/163.


                                                   17
Case 1:16-cr-20897-PAS Document 114 Entered on FLSD Docket 05/01/2019 Page 20 of 54
   CONFIDENTIAL                                                           September 21, 2018


   and other shipboard staff. Attendees included several dozen Environmental Officers; corporate

   shoreside personnel from each of the Company’s operating lines, including the CCM, OLCMs,

   and multiple Vice Presidents, managers, and directors with environmental functions; various

   shipboard personnel, including Fleet Chief Engineers and a Chief Engineer; CSMART training

   instructors; and members of the CAM and TPA teams.

          Overall, the CAM Team concluded that the conference was informative and productive

   for the attendees. In particular, the Environmental Officer attendees were energized and

   engaged, and actively shared concerns and ideas for improvement related to their job position.

   The nature of the concerns expressed related to training, work load, job position and status,

   career path, shoreside support, shipboard support, corporate culture, “tone from the top,” and

   unclear or unworkable policies and procedures. The CCM committed to following up on a

   number of these issues. The CAM continues to examine and engage with the Company on

   personnel issues related to the Environmental Officer position.

          E.      Corporate Structure and CCM Authority

                  1.      Centralization

          The CAM First Annual Report noted a widespread concern within the company that a

   lack of centralization impeded efforts at consistency of performance, clarity of roles, and robust

   communication, and thereby created impediments to the Company’s efforts towards continuous

   improvement. See e.g., CAM First Annual Report at 4. In its Order of July 13, 2018, the Court

   ordered the Company to provide, by September 5, 2018, “a plan as to how Carnival and its

   brands will address the challenge of corporate structure set forth in the [CAM First Annual

   Report], including prioritizing and standardizing environmental compliance across the company

   and establishing a Corporate Compliance Manager with both responsibility and authority over




                                                   18
Case 1:16-cr-20897-PAS Document 114 Entered on FLSD Docket 05/01/2019 Page 21 of 54
   CONFIDENTIAL                                                           September 21, 2018


   environmental policy and the Environmental Compliance Plan.” Dkt. No. 75 at 2; see also CAM

   First Annual Report at 25-30.

             The Company addressed the Court’s order in two parts:

       (1)      As to the Company’s establishment of a CCM with both responsibility and

                authority over environmental policy and the ECP, on September 5, 2018, the

                Company provided the CAM, the TPA, and the Interested Parties with a new

                procedure—“HMP-1005 Corporate Compliance Manager Responsibilities

                and Authority.” It was represented that: “Carnival has designed the attached

                procedure to address Princess’s obligations under the July 12 Order.” See

                Email from D. Kelley, CCM Procedure (Sept. 5, 2018). The CAM is

                reviewing this procedure and will provide feedback. See infra, Part III.E.2.

       (2)      On September 17, 2018, in accord with the Court’s order granting the

                Company’s unopposed motion for an extension, see Dkt. No. 83, the

                Company submitted a document in connection with the first part of the

                order—i.e., the challenge of the Company’s corporate structure and the

                prioritization and standardization of environmental compliance. See Letter

                from Vice Admiral (Ret.) B. Burke, USN, Company Response to the Order

                issued on July 12, 2018 (Sept. 17, 2018), PCL_DOJ_00005737. The CAM is

                reviewing this document and will provide feedback.

          In its Monthly Supervision Reports to the Office of Probation, the Company has

   described a number of efforts to standardize or centralize environmental compliance functions

   across the Company, including:




                                                   19
Case 1:16-cr-20897-PAS Document 114 Entered on FLSD Docket 05/01/2019 Page 22 of 54
   CONFIDENTIAL                                                           September 21, 2018


         •   Standardizing Application of Environmental Control System (“ECS”) Seal/Lock
             Program. 19 The Company reports that “[p]lans are being developed to help improve the
             consistency of ECS application fleet wide. An additional team member [a dedicated ECP
             Technical Consultant] has been added to the Corporate Environmental Compliance team
             starting August 20, 2018 for the following 12 months to focus on ECS compliance and
             consistency across the entire fleet.” July 2018 USPO Supervision Report, Attachment 3,
             at 4. In addition, the Company held a subject matter expert workshop at Holland
             America Group offices in Seattle, Washington from August 28-30, 2018 “to further
             discuss the future of ECS compliance.” Id.; see also Response to TPA First Annual
             Audit Report at 5. Members from the CAM and TPA teams attended this workshop.
             Among other things, the workshop concluded that some ECS requirements in the ECP
             can be made clearer. The Company will propose revisions to the ECP, as well as to its
             ECS methodology and portable pump procedure. See Employee Interview Notes. The
             CAM generally supports efforts to improve the clarity and value of the ECS program, and
             will review and provide feedback on proposed revisions to the ECP and Company
             procedures.

         •   Developing a Corporate-Wide Incident and Near Miss Reporting System. The
             Company reports that it is developing a corporate-wide incident and near miss reporting
             system called SeaEvent. July 2018 USPO Supervision Report, Attachment 3, at 3. Pilot
             testing is scheduled to take place from October 2018 – May 2019. Roll-out across the
             fleet is expected to be complete by the end of 2019. See id.

         •   Obtaining a Single Corporate-Wide ISO-14001 Certification. 20 The Company reports
             that Carnival Corp. and the operating lines have received a single corporate-wide ISO-
             14001 certification. See Employee Interview Notes; see also July 2018 USPO
             Supervision Report, Attachment 3, at 4. According to the Company, this “new
             centralized approach to the certification is based on the Global HESS system where we
             have aligned all HESS procedures and policies across the Corporations.” Id.

         •   Implementing a Single Oily Water Separator and Oil Content Meter Service and
             Maintenance Contract. The Company reports that a “single [Oily Water Separator] and
             [Oil Content Meter] service and maintenance contract for the entire corporate fleet is
             currently in discussion. It would potentially include training for engineers.” July 2018
             USPO Supervision Report, Attachment 3, at 4.




   19
        See ECP § IX.B; see also CAM First Annual Report at 14, 52-53.
   20
     Developed and published by the International Organization for Standardization (“ISO”), ISO-
   14001 is an international standard that “sets out the criteria for an environmental management
   system and can be certified to. It maps out a framework that a company or organization can
   follow to set up an effective environmental management system.” ISO, ISO 14000 family –
   Environmental Management, ISO.ORG, https://www.iso.org/iso-14001-environmental-
   management.html.


                                                    20
Case 1:16-cr-20897-PAS Document 114 Entered on FLSD Docket 05/01/2019 Page 23 of 54
   CONFIDENTIAL                                                          September 21, 2018


          The CAM will continue to monitor and evaluate the Company’s efforts to prioritize and

   standardize environmental compliance across the Company during ECP Year Two.

                  2.     CCM Authority

          The CAM First Annual Report found that the CCM did not possess the ECP-required

   “authority to ensure full implementation of this ECP,” ECP § III.A.2. Notably, most senior

   executives asked about this issue acknowledged that the CCM lacked such authority. CAM First

   Annual Report at 4, 28-30, 42.

          In response to this finding, the Company reports that a new procedure “describing the

   CCM’s responsibility and authority is expected to be implemented by October 15, 2018.”

   Response to TPA First Annual Report at 4. According to the Company, this procedure “will,

   among other things, formalize the CCM’s practice of reviewing and endorsing all proposed

   revisions to existing [Environmental Management System] procedures as well as the

   implementation of any new [Environmental Management System] procedures.” Id.

          On September 5, 2018, the Company provided to the CAM, the TPA, and the Interested

   Parties the proposed CCM procedure. See HMP-1005, Corporate Compliance Manager

   Responsibilities and Authority (Sept. 4, 2018). The procedure aims to define the “authority,

   roles, responsibilities, and interrelationships” of the CCM. Id. at 1. The CAM is reviewing this

   procedure, and the CAM will continue to monitor and evaluate the Company’s efforts to provide

   the CCM with the ECP-mandated authority during ECP Year Two.




                                                  21
Case 1:16-cr-20897-PAS Document 114 Entered on FLSD Docket 05/01/2019 Page 24 of 54
   CONFIDENTIAL                                                              September 21, 2018


           F.      Culture

                   1.      Compliance Culture Assessment

           As directed by the Court, and consistent with discussions held by the CAM with the

   Government and with the Company, the CAM will oversee the implementation of a culture

   survey to assess both the strengths and the opportunities for improvement in the Company’s

   compliance culture. See Second Annual Work Plan at 10-11. This culture survey effort supports

   the CAM’s mandate to monitor the Company’s compliance with the ECP, see ECP § VI.A., and

   to assess whether the Company has adequate systems in place to ensure regulatory compliance,

   correct non-compliance, and prevent future non-compliance, see ECP § VI.B.2.

           On June 27, 2018, as agreed by the Company, the CAM retained a culture consultant,

   Propel, to develop and implement the CAM’s compliance culture survey. Propel has experience

   developing and delivering maritime culture surveys. Propel is working with the CAM, and

   through the CAM with the Company, to develop a survey instrument designed to measure the

   Company’s compliance culture. Safety culture surveys have been routinely conducted in the

   maritime and many other industries. This culture assessment will focus more broadly on the

   corporate culture attributes that relate to the interrelated obligations of safety, health, and

   environmental compliance. The Company and the CAM are collaborating on this effort.

           Some of Propel’s prior survey questions used with maritime entities are appropriately

   used here. Use of these prior questions allows for the benchmarking of responses against the

   data collected elsewhere. Other questions are being developed specifically for this effort. To

   assist in both the development and administration of the survey, the CCM assembled a working

   group with subject-matter expertise in the Company’s prior survey administration efforts. The

   CAM and Propel are engaging with this group and with other Company personnel to develop a




                                                     22
Case 1:16-cr-20897-PAS Document 114 Entered on FLSD Docket 05/01/2019 Page 25 of 54
   CONFIDENTIAL                                                           September 21, 2018


   survey whose questions and terms will be widely understood, and which can be administered

   smoothly and efficiently. The Company sought approval from the CAM to expand the survey

   beyond the population central to compliance functions covered during probation. While

   commendable, it is also important that such an expansion not lead to delay or significant

   technical issues in the administration of the survey. The CAM and the Company are still

   working cooperatively to address the scope issues as it relates to survey administration.

          Planning and development of the survey instrument is scheduled to be completed by the

   end of October 2018. The survey is to be conducted from November 2018 to March 2019. From

   January 2019 to April 2019, Propel will conduct focus group sessions on ships and at shoreside

   locations to clarify observed survey trends and responses. Results from the survey

   administration and focus groups, as well as analysis of the results will be presented to the CAM

   and the Company in a mutually agreed reporting format, with a target date of May 2019.

          Propel will conduct a second survey before the completion of the five-year probationary

   period in order to assess the Company’s progress in creating a sustainable culture of compliance.

          G.      Investigations

          In early 2018, in response to widespread recognition of the inadequacy of existing

   incident investigations, the Company engaged a third party, DNV-GL, to assess the internal

   incident investigation process. In May 2018, DNV-GL delivered a report with four overall

   recommendations and twenty-eight specific areas for improvement to assist the Company in

   improving the quality and efficiency of investigations, such that true root cause analyses can be

   obtained. See DNV-GL, Towards improving Carnival’s incident investigation process, Report




                                                   23
Case 1:16-cr-20897-PAS Document 114 Entered on FLSD Docket 05/01/2019 Page 26 of 54
   CONFIDENTIAL                                                            September 21, 2018


   No. 2018-0209, Rev. Final (May 8, 2018), PCL_ECP00051998-52050. The CAM is seeking to

   follow the Company’s progress in this area during ECP Year Two.

          In advance of the Company’s report to the Court on its timeline for implementation of the

   DNV-GL recommendations, provided on September 21, 2018, see Email from B. Herrmann,

   Investigations Timeline – U.S. v. Princess Cruise Lines, Ltd. 1:16-cr-20897 (S.D. Fla.) (Sept. 21,

   2018), the CAM received several updates from the Company regarding its progress. The CAM

   understands that the Company has engaged DNV-GL to develop an Investigator Accreditation

   program, and to assist the Company in revising its corporate policies and procedures regarding

   incident investigations to incorporate DNV-GL’s recommendations.

          In addition, on September 5, 2018, the Company provided the CAM with a “proposed

   plan to enhance the internal incident investigation program employed within the Company and

   its respective brands.” Letter from C. Donald, Company’s Proposed Change to Maritime

   Investigations & Modification of the ECP (Sept. 5, 2018), at 1 (“Proposed Change to Maritime

   Investigations”). The plan proposes to create a new Global HESS Investigations Department that

   would be independent of the Company’s audit function (RAAS) and sit within the Company’s

   Global Ethics & Compliance Department. See id. at 2. Responsibility for “all significant HESS

   incident investigations, including but not limited to ‘Covered Vessel casualties,’ ‘oil pollution

   incidents,’ and Environmental Open Reports,” would be reassigned from RAAS to the new

   Global HESS Investigations Department. See id. at 2-3. 21 The Company intends to propose


   21
     The Company currently uses a tiered approach to the classification of incident severity. Tier 3
   environmental incidents are defined to include, among other things, unintended releases above
   specified quantities of pollutants or an intentional deviation from Company policy regarding
   discharge control. See HMP-1302-A1. Tier 4 environmental incidents are violations of
   “MARPOL or Environmental procedures, at the same levels listed in Severity level 3, which are
   believed or alleged to be a result of misconduct.” Id. At this time, the CAM has no information
   regarding whether the Company intends to revise its tiered approach to incident severity.


                                                    24
Case 1:16-cr-20897-PAS Document 114 Entered on FLSD Docket 05/01/2019 Page 27 of 54
   CONFIDENTIAL                                                          September 21, 2018


   corresponding modifications to ECP Sections III.B.1(b) and (c). See Proposed Change to

   Maritime Investigations, at 3-4. The CAM is reviewing the Company’s proposal and will

   provide feedback as appropriate.

          H.     Training

          The Company continues to invest resources in environmental and ECP-related training.

   See CAM First Annual Report at 21-23, 69-70. Recent updates and other developments include:

      •   CSMART Training Courses. As of July 2018, the Company has conducted thirty
          “Environmental Officer 1” training courses and eight “Environment Officer 2” training
          courses at the CSMART training center in Almere, The Netherlands. These courses are
          taught by two full-time Environmental Officer course instructors and two operating line
          instructors. See July 2018 USPO Supervision Report, Attachment 3, at 2.

      •   Compliance to Commitment Training Program. The Company has retained training
          experts from the University of West Florida to help develop the second phase of this
          program, which began in October 2017 and provides environmental training to all
          engineers and deck officers attending CSMART. See Employee Interview Notes; see
          also July 2018 USPO Supervision Report, Attachment 3, at 2.

      •   Shipboard Training Review. The Company also has retained training experts from the
          University of West Florida to “conduct a focused review of shipboard training,”
          including training materials and training procedures, and identify areas for improving this
          training going forward. This review will start in November 2018. Response to TPA First
          Annual Report at 7; see also Employee Interview Notes.

      •   Environmental Induction Training Materials. The Company is in the process of
          finalizing a new ECP training video and presentation slides for the onboard
          environmental “induction” training that Environmental Officers give to newly joined
          crew members. This new training should be implemented by November 2018. See
          Response to TPA First Annual Report at 7; see also July 2018 USPO Supervision Report,
          Attachment 3, at 2; see also Employee Interview Notes.

      •   GLADIS System. The Company continues to roll out its “single electronic learning
          management system,” called the Global Learning and Development Information System
          (“GLADIS”). GLADIS is designed “to facilitate completion and tracking of the basic
          environmental training for shoreside employees and pre-learning training for
          Environmental Officers. It will eventually be used for all HESS related trainings.” July
          2018 USPO Supervision Report, Attachment 3, at 2. GLADIS is being rolled out in two
          phases; phase one should be implemented by November 2018, while the roll-out date for
          phase two is not yet confirmed. See Response to TPA First Annual Report at 7.




                                                  25
Case 1:16-cr-20897-PAS Document 114 Entered on FLSD Docket 05/01/2019 Page 28 of 54
   CONFIDENTIAL                                                           September 21, 2018


        •   CrewTube. The trial phase of CrewTube, a smart phone/tablet training application, is
            complete, and the app is available for crew members to download. The app “provides
            general HESS information to crew members and includes the ECP messaging videos
            from the CEO and Presidents as well as basic environmental awareness information.” Id.
            The app “will allow a number of HESS awareness trainings to be conducted prior to
            joining the ship.” July 2018 USPO Supervision Report, Attachment 3, at 2. 22

        •   HESS First. The Company reports that it is “assessing the feasibility of a new training
            approach called HESS First that incorporates all HESS training aspects under one
            program that provides opportunities to improve how [the Company] conduct[s] and
            measure[s] training.” Response to TPA First Annual Report at 7.

            As discussed in the CAM First Annual Report, the CAM Team visited the Company’s

   CSMART training center in June 2017, when the ECP-required Environmental Officer training

   was just beginning. See CAM First Annual Report at 69-70. While in Almere for the

   Environmental Commitment Conference from September 11-13, 2018, discussed supra, Part

   III.D, the CAM Team returned to CSMART and observed portions of various training courses,

   including (1) Continuous Development Engineering, which “comprises a review and

   consolidation of technical and non-technical skills/competence expected for the [engineer’s]

   rank;” and (2) Leadership, which aims “to set a common and consistent approach to operational

   leadership on board ships.” See PCL_ECP00055978. 23 Environmental Officer training courses

   were not offered during the CAM Team visit due to the Environmental Commitment Conference

   being held the same week.

            In October 2018, the CAM Team plans to attend a meeting with the CCM, OLCMs, and

   Operating Line Training Managers. The Company reports that, during this meeting, “the

   compliance team will be developing a long term plan to strengthen its culture of compliance,”



   22
     The CAM is aware of concerns related to the fact that the proposed use of CrewTube appears
   designed to have employees complete training during times when they are not being paid.
   23
      While the Leadership course appeared to be well-designed and well-run, the CAM notes that
   attendance is not mandatory. See id.


                                                   26
Case 1:16-cr-20897-PAS Document 114 Entered on FLSD Docket 05/01/2019 Page 29 of 54
   CONFIDENTIAL                                                          September 21, 2018


   which will include “a plan to develop engaging and motivated trainings” over a two year period.

   Response to TPA First Annual Report at 5.

          The CAM will continue to evaluate the environmental and ECP-related training and

   provide an assessment in the next CAM annual report. In addition, as noted in Part III.D of this

   Report, the CAM plans to explore the training of ratings, which primarily is conducted by third-

   party manning agencies.

          I.      Strategic Planning and Resources for Operations and Compliance

          In its Order of July 13, 2018, the Court ordered appropriate representatives from the

   Company, before the next Quarterly Status Conference, to “meet and confer with the [CAM] to

   discuss how the companies’ long-term strategic plans are formulated and, specifically, to discuss

   how environmental compliance has been made part of those plans and how protection of the

   environment is being incorporated as a priority into the companies’ strategic plans and culture in

   a long-term, sustainable manner.” Dkt. No. 75 at 3. As discussed below, the CAM has had

   initial meetings with the Company on this topic. During ECP Year Two, the CAM Team intends

   to review the Company’s current strategic planning process, including how the strategic plans

   provide for long-term sustainable environmental compliance. See Second Annual Work Plan at

   13. The CAM Team will include a review of how and to what extent the strategic planning

   process appears designed to support sustainable environmental compliance.

                  1.     CAM Interactions with Company Representatives

          On August 8, 2018, Carnival’s Chief Maritime Officer provided a draft document to the

   CAM Team that provided his high-level overview of the Company’s general planning process,

   including strategic planning, new build planning, capital appropriations planning, operating plan

   planning, and recent significant HESS/marine capital and operating expenditures. On August 9,




                                                   27
Case 1:16-cr-20897-PAS Document 114 Entered on FLSD Docket 05/01/2019 Page 30 of 54
   CONFIDENTIAL                                                           September 21, 2018


   2018, the Chief Maritime Officer, CCM, and CAM Team had an initial call to answer

   preliminary questions from the CAM and discuss how the CAM could obtain further information

   on the strategic and financial planning process at both the corporate level and the operating line

   and/or brand level. On the call, it was agreed that further conversations at the brand and

   operating line levels would provide valuable information with respect to the strategic planning

   process. The CAM is in the process of working with the CCM to plan additional shoreside visits

   focused on strategic planning and budgeting, including a discussion with the Company’s Chief

   Financial Officer and its Comptroller scheduled for late September 2018.

                   2.      CAM Retention of Forensic Accountant

           As noted above, the CAM has identified a qualified forensic accountant firm,

   AlixPartners, to assist with the CAM’s review of the Company’s strategic planning process and

   process for funding capital expenditures, operations, and compliance. See Second Annual Work

   Plan at 12-13. This work will require, among other things, the review of the budget process and

   funding decisions that impact the allocation of financial resources for compliance in the context

   of the overall strategic planning, budget, and funding practices of the Company. The CAM

   Team will be “examining Company expenditures, including but not limited to the ECP-required

   Covered Vessel budgets and the process for OLCM budget certifications per ECP Sections

   III.A.9 and III.A.10.” Id. at 13. 24

           On August 13, 2018, the CAM submitted written notification to the Company advising of

   the planned retention of AlixPartners pursuant to the requirements of the Monitor Agreement.

   On August 20, 2018, the CAM Team had a call, at the Company’s request, with Carnival’s Chief


   24
     On July 18, 2018, the CAM issued its Eighth Document Request to the Company, requesting
   ten different categories of financial documents and revising its standing request for budgetary
   information.


                                                   28
Case 1:16-cr-20897-PAS Document 114 Entered on FLSD Docket 05/01/2019 Page 31 of 54
   CONFIDENTIAL                                                          September 21, 2018


   Financial Officer and Corporate Comptroller regarding the retention of AlixPartners. On August

   23, 2018, the Company consented in writing to the retention.

          J.      Company Vessel Visit Programs

                  1.     Context

          As discussed in the CAM First Annual Report, and as considered by the Court during the

   July 11, 2018, Status Conference, two vessel visit programs created by the Company came to

   light during ECP Year One. The first program, implemented during the first half of ECP Year

   One, involved the Company sending engineers—including contract personnel 25—to vessels to

   find and correct compliance issues that might be identified during TPA audits. Following the

   December 4, 2017, Status Conference, the Company represented that it had terminated this

   approach. See CAM First Annual Report at 73-74.

          Shortly thereafter, it appears that Holland America Group began implementing a second

   vessel visit program called the Environmental Ship Assistance Visit Program (“ESAV program”

   or “ESAVP”), in response to an effort by Company management to instigate the development of

   an additional vessel visit program. Like the initial pre-TPA audit program, the ESAVP was not

   disclosed to the Interested Parties, the CAM, the TPA, or the Court. See id. Both programs

   came to light only when employees, concerned about these practices, revealed them to the CAM.

   During the April 3, 2018, Status Conference, the Court and the Government expressed concern

   about the nature and lack of transparency of these programs. As noted above, at the July 11,

   2018, Status Conference, the Court concluded that these efforts had “tainted” the audits

   performed in their wake, and had thereby diminished the Court’s ability to rely upon the TPA


   25
     It appears that the Company retained Alba Marine Technical Consultancy to perform certain
   pre-TPA audit visits. See PCL_DOJ_ESAVP_00000400 (Alba Marine Technical Consultancy
   Pre-TPA Audit Ship Visit for the Sun Princess).


                                                  29
Case 1:16-cr-20897-PAS Document 114 Entered on FLSD Docket 05/01/2019 Page 32 of 54
   CONFIDENTIAL                                                            September 21, 2018


   audits to provide an accurate benchmark of the compliance challenges faced by the ships. See

   Status Conf. Tr. at 11 (July 11, 2018); see also id. at 39 (the pre-audit programs raised “concerns

   as to whether or not the audit findings that we have are really the true picture”).

          The Company reports that the ESAV program “has been suspended pending internal

   review and reporting to the court and Interested Parties.” July 2018 USPO Supervision Report,

   Attachment 3, at 4.

                  2.      Review of Company Document Production

          In response to requests made by DOJ regarding the ship visit programs, the Company

   produced documents over eight productions, including productions on August 7, 2018, August

   28, 2018, and September 5, 2018. The Company stated that the documents provided on

   September 5, 2018 completed the production of vessel visit documents, as required by the

   Court’s Order of July 13, 2018. See Letter from D. Kelley, Environmental Ship Assist Visit

   Program – Seventh & Eighth Production of Documents (Sept. 5, 2018). The Company “does not

   anticipate making any further productions at this time.” Id. at 1. On September 10, 2018, the

   Company provided a privilege log setting forth descriptions of responsive documents over which

   the Company intends to assert a privilege. See Email from B. Herrmann, FW: Privilege Log –

   U.S. v. Princess Cruise Lines, Ltd., No. 1:16-cr-20897 (S.D. Fla.) (Sept. 10, 2018).

            The CAM is reviewing the documents produced by the Company and will report further,

   as appropriate. The Company also has offered to provide a presentation with respect to these,

   and other, vessel visit programs. Once the CAM Team has analyzed the documents produced

   and the privilege log, the CAM will consider whether, and to what extent, further inquiries are

   necessary.




                                                    30
Case 1:16-cr-20897-PAS Document 114 Entered on FLSD Docket 05/01/2019 Page 33 of 54
   CONFIDENTIAL                                              September 21, 2018




                                             Respectfully Submitted,




                                             Steven P. Solow
                                             Court Appointed Monitor

                                             September 21, 2018




                                        31
Case 1:16-cr-20897-PAS Document 114 Entered on FLSD Docket 05/01/2019 Page 34 of 54
   CONFIDENTIAL                                                         September 21, 2018


             APPENDIX A: ECP YEAR TWO CAM RECURRENT INCIDENT CATEGORIES

    Category              Description
                          Incidents related to alarms (e.g., high level tank alarms), including both
                          (i) technical malfunctions and errors, such as a failure of an alarm to go
    Alarms
                          off; and (ii) human errors, such as a failure to notice or respond to an
                          alarm.
                          Incidents related to violations or potential violations of Alaska
    Alaska Permit
                          Department of Environmental Conservation effluent limit exceedances
    Sample
                          (e.g., fecal coliform, pH).
    Ballast Tank          Incidents related to ballast tank issues, such as leaks.
                          Incidents related to leaks or overflows of liquids from tanks (e.g., grey
    Bilge
                          water, ballast, sewage), pipes, and other vessel equipment and spaces
    Leaks/Overflows
                          into the bilges.
                          Incidents that may be attributable to the action(s) or inaction(s) of
    Contractor Issue      third-party contractors on the vessel (e.g., work crews) rather than
                          Company personnel.
                          Incidents related to failures to meet ECP-mandated deadlines, such as
    Deadline Issue        the requirement to conduct monthly testing of Oily Water Separator
                          units.
                          Incidents related to prohibited discharges or potential discharges of all
                          media (e.g., garbage, sewage, food waste, grey water, oily bilge water,
    Discharges
                          etc.), including discharges governed by Marine Environmental
                          Protection Requirements.
                          Incidents involving disciplinary action against a Company employee as
                          part of the response to the incident. These actions may range from
    Disciplinary Action
                          verbal warnings to termination. The nature of the disciplinary action
                          often is not specified in the reports received from the Company.
                          Incidents related to air emissions (e.g., exhaust gas) that violate local,
    Emissions/Opacity
                          national, or international emissions or opacity requirements.
                          Incidents related to the Environmental Officer position, including (i)
                          sailing without an Environmental Officer for longer than the seven-day
    Environmental         period prescribed in the ECP; (ii) failure of an individual
    Officer               Environmental Officer to fully or adequately perform his or her duties
                          (e.g., failure to review log books); and (iii) failure of an Environmental
                          Officer to receive, perform, or log ECP-required trainings.




                                                 32
Case 1:16-cr-20897-PAS Document 114 Entered on FLSD Docket 05/01/2019 Page 35 of 54
   CONFIDENTIAL                                                           September 21, 2018


    Exhaust Gas             Incidents related to the EGCSs on vessels, including, for example, (i)
    Cleaning Systems        EGCS washwater discharges; 27 (ii) EGCS equipment malfunctions;
    (“EGCSs”) 26            and (iii) failures to use the EGCS in protected Emission Control Areas.
                            Incidents related to internal fuel leaks (e.g., from diesel
    Fuel Leak               generators). These incidents do not result in overboard discharges, but
                            they may result in leaks into the bilges.
                            Incidents related to burning fuel with a sulphur content that exceeds the
    Fuel Sulphur
                            level set by relevant requirements. These incidents typically also
    Content
                            involve violations of air emissions or opacity requirements.
                            Incidents related to the Open Reporting System hotline not working
    Hotline                 (e.g., technical failures). Environmental Officers are required to check
                            the hotline periodically.
                            Incidents related to discharges from lifeboats, tenders, liferafts, rescue
                            boats, and associated equipment. This includes discharges of oil, as
    Lifeboat and
                            well as discharges of items that may qualify as “garbage” under
    Tender Systems 28
                            MARPOL Annex V (e.g., glass panes, doors, plastic containers, canvas
                            covers).
                            Incidents related to inadequate “manning” or staffing levels on a
                            vessel, including incidents that appear to be attributable to overwork or
    Manning
                            failure of crew members to have the training or experience necessary to
                            perform their assigned duties.
    Marine                  Incidents resulting in harm to or killing of marine mammals, including
    Mammals/Whale           whales.
    Strike
    Near Miss               Events that do not result in environmental incidents, but could have.
                            Incidents that may be attributable to action(s) by passengers rather than
                            Company personnel. Many of these incidents involve the loss of items
    Passenger Issue
                            overboard (e.g., hats, phones, glasses), both intentional and
                            unintentional.
    Pollution               Incidents related to failures or other malfunctions of pollution
    Prevention              prevention requirement, such as the Oily Water Separator, the White
    Equipment               Box, or their component parts.
                            Incidents related to failures to use or maintain portable pumps in
    Portable Pumps          accordance with ECP engineering requirements, including ECS
                            requirements.

   26
      An EGCS is a cleaning system (often referred to as a scrubber) that removes sulphur oxides
   from a vessel’s engine and boiler exhaust gases. See EPA, Exhaust Gas Scrubber Washwater
   Effluent (Nov. 2011), available at
   https://www3.epa.gov/npdes/pubs/vgp_exhaust_gas_scrubber.pdf.
   27
     EGCS washwater is waste water generated by an EGCS that can contain various contaminants,
   including combustion by-products, fuel, and lubricants. See id. at 2.
   28
      A tender is a ship used to transport people or supplies to and from shore or another ship. See
   http://www.memidex.com/tender+ship-boat.


                                                   33
Case 1:16-cr-20897-PAS Document 114 Entered on FLSD Docket 05/01/2019 Page 36 of 54
   CONFIDENTIAL                                                          September 21, 2018


                           Incidents related to inaccurate or incomplete recordkeeping or
                           document maintenance, including in an Oil Record Book, Garbage
    Recordkeeping          Record Book, 29 or any other log or record required under the ECP,
                           Company policy, MARPOL, or other international, national, or local
                           law or regulation.
                           Incidents related to refrigerant gas leaks, including recordkeeping
    Refrigerants
                           issues.
                           Incidents related to ECP ECS seal and lock requirements. This
                           includes missing or damaged seals as well as recordkeeping issues
    Seals and Locks
                           (e.g., the Critical Valves, Fittings, and Tank Hatches List and Seal Log
                           required under ECP Section IX.B).
                           Incidents that may be attributable to a failure by shoreside offices to
    Shoreside
                           provide adequate or timely support or resources to vessels, including
    Support/Resources
                           delays in responding to requests for parts or labor.
                           Incidents related to the unavailability of spare parts, including ECP
    Spare Parts
                           critical spare parts, on vessels.
                           Incidents related to inadequate or missed training. This includes
                           (i) failures to perform required ECP trainings; (ii) recordkeeping
                           issues, including falsification of training records; and (iii) incidents
    Training
                           which appear to be attributable to inadequate training, including
                           incidents where additional training is implemented as a part of the
                           Company’s corrective action or other response.
                           Incidents that may be attributable to the action(s) or inaction(s) of
    Vendor Issue           third-party shoreside vendors (e.g., forklift operators, garbage offload
                           truck operators, bunker barge operators), rather than the vessel.
                           Incidents related to prohibited discharges or emissions that appear to be
    Voyage Planning        attributable to voyage planning (e.g., inaccurate boundary maps or
                           miscommunication between deck and engine room).




   29
     A Garbage Record Book is a log where a ship records the discharge, disposal, or incineration
   of garbage. It is required under MARPOL Annex V.


                                                  34
Case 1:16-cr-20897-PAS Document 114 Entered on FLSD Docket 05/01/2019 Page 37 of 54
   CONFIDENTIAL                                          September 21, 2018


                   ATTACHMENT 1: CAM SECOND ANNUAL WORK PLAN

                                 [See following pages]




                                          35
CaseCONFIDENTIAL
     1:16-cr-20897-PAS Document 114 Entered on FLSD Docket 05/01/2019 Page 38 of 54
   NOT FOR DISCLOSURE BEYOND INTENDED RECIPIENTS



              Second Annual Work Plan and Budget of the Court Appointed Monitor
              United States v. Princess Cruise Lines, Ltd., 1:16-cr-20897-PAS (S.D. Fla.)
                                For the Period April 2018 – April 2019
                                       Submitted August 3, 2018


           Pursuant to the Monitor Agreement in the matter of United States v. Princess Cruise
   Lines, Ltd., 1:16-cr-20897-PAS (S.D. Fla.), the Court Appointed Monitor (“CAM” or “Monitor”)
   submits this Second Annual Work Plan and Budget (“Second Annual Work Plan” or “Work
   Plan”). This Second Annual Work Plan incorporates by reference the Superseding First Annual
   Work Plan and Budget of the Court Appointed Monitor, submitted October 20, 2017
   (“Superseding First Annual Work Plan”). 1

           As to budget, the parties came to an agreement that was described by the U.S.
   Department of Justice (“DOJ”) to the Court during the Status Conference held on October 18,
   2017, and memorialized in the Superseding First Annual Work Plan. In brief, there were three
   categories of CAM Team fees (excluding associated costs and expenses 2): (1) fees associated
   with vessel and shoreside visits; (2) fees for work not associated with vessel and shoreside visits;
   and (3) fees excluded from the anticipated budget. With respect to vessel and shoreside visits,
   the CAM Team agreed to a maximum of fifteen vessel visits and five shoreside visits per year,
   and agreed that the fees of the CAM Team for those vessel and shoreside visits would not exceed
   $3,000,000 for the first year of the monitorship. 3 With respect to fees for work not associated
   with vessel and shoreside visits, the CAM and the parties anticipated that the fees for work
   described in the Superseding First Annual Work Plan would fall between $3,000,000 and
   $4,000,000. 4 For the final category of fees, the CAM, the Company, and the Government agreed
   that fees associated with the following categories of work would not be counted towards the
   anticipated fee amount: (1) fees associated with any Monitor Work Plan and Budget (such as
   work plan drafting, the preparation of explanatory letters or documents, the preparation of
   addenda, or work plan negotiation); (2) fees incurred in preparation for the October 28, 2017,
   Status Conference; (3) fees associated with Carnival contesting bills; and (4) major contingencies
   that may arise during the course of the monitorship. The Company, the CAM, and the
   1
     Any terms not defined in this Second Annual Work Plan take the definitions provided in the Monitor Agreement,
   the ECP, or the First Annual Report of the Court Appointed Monitor (2017-2018) (“CAM First Annual Report”).
   2
     In order to reduce travel expenses, for travel booked on or after September 27, 2017, the CAM Team agreed to use
   the Company’s travel service, except for unannounced vessel visits and other unanticipated circumstances.
   3
    For purposes of tracking fees, the Company and the CAM agreed that budget years would run from April 1–March
   31 (as opposed to ECP years which run from April 19–April 18, which is the final day of the ECP year).
   4
     The CAM will continue to use $3,000,000 to $4,000,000 (as adjusted for hourly rate increases in accordance with
   Section 4.5 of the Monitor Agreement) as a target for this category of fees from April 2018 through March 2019.
   However, as described in this Work Plan, the number of CAM Team work streams has expanded as a result of the
   findings and areas of focus identified in the CAM First Annual Report. The CAM will continue to monitor the fee
   amounts incurred and will alert the Company if it seems that the target amounts are no longer realistic.



                                                           1
CaseCONFIDENTIAL
     1:16-cr-20897-PAS Document 114 Entered on FLSD Docket 05/01/2019 Page 39 of 54
   NOT FOR DISCLOSURE BEYOND INTENDED RECIPIENTS



   Government also agreed that the fee amounts described would be adjusted periodically, in
   accordance with Section 4.5 of the Monitor Agreement, entitled “Fee Increases,” to take into
   account regular increases in rates for members of the CAM Team—with the exception of the
   CAM who agreed to freeze his rate for the duration of the monitorship. 5

           For the second year of the ECP, the CAM notes that there are significant categories of
   work that will be excluded from the targeted fee amounts as major contingencies that have arisen
   during the course of the monitorship. These significant categories of work identified to date
   include: (1) the new CAM Quarterly Report requirement requested by the Company and ordered
   by the Court; (2) the assessment of the Company’s vessel visit programs; (3) activities associated
   with complying with the Court’s directive that the CAM inquire into how the Company’s long-
   term strategic plans are formulated and the place of environmental compliance in those plans;
   and (4) the additional vessel and shoreside visits conducted in accordance with the Court’s Order
   of July 13, 2018.

       I.   Introduction to Second Annual Work Plan

           On June 21, 2018, the CAM submitted the CAM First Annual Report. During ECP Year
   One, the CAM Team visited more than twenty vessels and shoreside offices, conducted hundreds
   of interviews, and reviewed thousands of documents. Based on its review, the CAM made
   findings regarding the Company’s capabilities to meet ECP objectives and attain continuous
   improvement.

           The CAM made the following eight findings related to the Company’s progress regarding
   ECP objectives: (1) there was no repeat of the underlying offenses; (2) the Company appears to
   have substantially implemented the many ECP Year One requirements, such as installation of
   seals and locks, delivery of training, and development of a sampling program; (3) the Company
   selected qualified and dedicated compliance personnel; (4) employees, both on ship and on
   shore, were nearly universally cooperative and forthcoming in their interactions with the CAM
   Team and the TPA and evidenced broad comprehension of their environmental obligations;
   (5) the Company has implemented a variety of initiatives related to environmental compliance
   that go beyond the enumerated requirements of the ECP; (6) the Company has used its existing
   sophisticated training resource, the Center for Simulator Maritime Training (“CSMART”), to
   implement some of the training required by the ECP; (7) the Company engaged DNV GL to
   assess—and subsequently to help implement recommendations related to—the Company’s
   investigation process; and (8) the Company agreed to the CAM’s request to conduct an
   environmental compliance culture survey.


   5
    In accordance with Section 4.5 of the Monitor Agreement, a revised fee schedule is attached to this Work Plan.
   The firm increased its rates effective January 2018. The attached chart reflects what will be the 2018 Carnival rate.
   Note that the 2018 Carnival rate preserves any previously applied discounts. Pursuant to Section 4.5 of the Monitor
   Agreement, the 2018 Carnival rate will be made effective 60 days from August 3, 2018.



                                                             2
CaseCONFIDENTIAL
     1:16-cr-20897-PAS Document 114 Entered on FLSD Docket 05/01/2019 Page 40 of 54
   NOT FOR DISCLOSURE BEYOND INTENDED RECIPIENTS



            The CAM made the following four findings related to unresolved barriers and
   opportunities for improvement: (1) the Company’s complex corporate structure serves as an
   impediment to implementation of a sustainable environmental compliance program and to efforts
   at continuous improvement; (2) the Company appears to have a blame culture, with a focus on
   identifying errors and disciplining individuals rather than also evaluating systemic issues that
   may need to be addressed; (3) the Company’s internal investigations are critically flawed in that
   there is no consistent, reliable means to investigate incidents or near misses and identify root
   causes that can lead to meaningful corrective actions; and (4) during ECP Year One, the
   Company violated environmental laws and the ECP, including that the Company has not given
   the CCM the ECP-required “authority to ensure full implementation of [the] ECP.” ECP §
   III.A.2.

            Based on the CAM’s findings and observations, the CAM also identified the following
   seven areas of focus for ECP Year Two: (1) the culture survey; (2) internal investigations;
   (3) training; (4) resources for operations and compliance; (5) shoreside support for vessels;
   (6) personnel, in particular Environmental Officers, engineers, and ratings; and (7) Company
   vessel visit programs. This Work Plan includes those areas of focus, as well as the
   responsibilities and obligations placed upon the CAM by the ECP and by the Court.

    II.   Monitorship Methodology and Work Streams

            This Work Plan is tailored to meet the CAM’s obligations imposed by the ECP and the
   Court. The work of the CAM during ECP Year Two is described below and categorized into
   thirteen primary work streams: (1) management and contingencies; (2) document and data
   review; (3) interviews, site visits, and events; (4) vessel visits; (5) shoreside facility visits;
   (6) compliance culture assessment; (7) reporting; (8) strategic planning and resources for
   operations and compliance; (9) corporate structure and CCM authority; (10) investigations;
   (11) training; (12) personnel; and (13) Company vessel visit programs. These work streams
   reflect the CAM’s current plan for work to be done during ECP Year Two, but this plan may be
   modified if required by the Court or by circumstances that arise during the course of the year.

          1. Management and Contingencies

           Undergirding the successful execution of the CAM’s responsibilities will be the
   management and oversight of monitorship work streams. These functions will include:
   (1) planning; (2) budgeting; (3) coordination; (4) tasking; (5) supervision; (6) knowledge
   management; and (7) organization. This work stream also will encompass the time spent by the
   CAM and CAM Team coordinating with the U.S. Probation Office, discussing the monitorship
   with DOJ and other government agencies as needed, and preparing for and appearing in court.

         The “Contingencies” category will encompass unexpected issues that arise that implicate
   the CAM’s mandate. For example, Major Non-Conformity findings or incidents involving



                                                    3
CaseCONFIDENTIAL
     1:16-cr-20897-PAS Document 114 Entered on FLSD Docket 05/01/2019 Page 41 of 54
   NOT FOR DISCLOSURE BEYOND INTENDED RECIPIENTS



   violations of the ECP or Marine Environmental Protection Requirements may require additional
   vessel visits, interviews, document review, or other unplanned work.

          2. Document and Data Review

           The CAM must review and analyze records and information to determine, among other
   things, the extent and nature of the Company’s compliance with the ECP and regulatory
   requirements. The ECP requires, for instance, that the CAM: monitor the Company’s
   compliance with the ECP, see ECP § VI.A; review reports and notifications as established in the
   ECP, see ECP § VI.E; review records necessary to perform the CAM’s duties, see ECP § VI.F.2;
   review TPA audit reports and related documents, see ECP § VI.F.3; review the Company’s
   internal environmental audits and audit processes, see ECP § VI.F.4; review “information
   regarding a Major Non-Conformity” or failure of the Company to “consider and act upon, as
   appropriate, an Audit Finding or recommendation of the TPA,” see ECP §§ III.A.6, VI.F.6;
   review TPA reports, see ECP § VIII.D.10; and review the Company’s EMS, see ECP § X.A.II.

          During ECP Year One, the CAM Team worked with the Company to implement a
   streamlined and cost effective review of documents and data. Accordingly, the CAM Team and
   the Company developed an agreed-upon protocol for requesting information and documents,
   responding to information and document requests, and managing produced information and
   documents in coordination with designated Discovery Liaisons. As part of this effort, the
   Company and the CAM Team agreed to utilize a Relativity-based platform through the
   Company’s preferred vendor, Strategic Legal Solutions, to process and house the records
   provided in response to CAM information and document requests. Access to the platform is
   being provided to the Company, the CAM Team, and the TPA.

           During ECP Year Two, the CAM Team will continue to utilize the agreed-upon methods
   for requesting and producing records and information. The primary method involves submitting
   formal document requests to the Company. As of the date of this Work Plan submission, the
   Company has produced records in response to eight formal CAM requests for documents and
   information, which include discrete requests as well as standing requests (i.e., those requests for
   which the Company has a continuing obligation to provide documents to the CAM throughout
   the remainder of the monitorship period).

           In connection with the Company’s financial and budget information, the CAM’s requests
   and review will focus on the budgeting process for ongoing expenditures, including capital
   expenditures. This review will include an assessment of the OLCM Annual Budget
   Certifications required by the ECP, see ECP § III.A.9, and related Company budget practices,
   including the process for developing and revising ECP-related and environmental compliance
   budgets. As directed by the Court, the CAM will review the Company’s overall strategic
   planning process (including resource allocation and budgeting) to examine how the Company
   has integrated compliance into its business planning and operations. This, of course, includes



                                                    4
CaseCONFIDENTIAL
     1:16-cr-20897-PAS Document 114 Entered on FLSD Docket 05/01/2019 Page 42 of 54
   NOT FOR DISCLOSURE BEYOND INTENDED RECIPIENTS



   whether compliance is appropriately prioritized and allocated sufficient resources and
   management attention to address the Company’s current and future compliance obligations. The
   CAM intends to engage advisors with forensic accounting expertise to assist with this aspect of
   document review and analysis, and will seek the Company’s consent as required by the Monitor
   Agreement.

           The CAM also will continue to rely on informal methods for requesting records and
   information. The Company has agreed to provide the CAM with the Company’s weekly report
   of incidents (“Flash Report”), which is maintained in the general course of business, as well as
   information regarding Major Non-Conformities, Non-Conformities, and other Observations
   reported by employees. See ECP § III.A.11. The CAM will continue to review, track, and
   assess such information (including requesting follow-up information about particular incidents),
   and will report to the Interested Parties as required by the ECP. Additionally, the CAM
   informally will request information from the Company during meetings, interviews, or site visits,
   as well as via email.

           Finally, in connection with the CAM’s obligation to assess both the TPA and the
   Company’s internal audit function, see ECP § VI.F.1-5, the CAM Team will review and analyze
   audit reports and related documents generated by the TPA and the Company’s Risk Advisory
   and Assurance Services (“RAAS”) department. Through this review, the CAM will seek to,
   among other things: evaluate the adequacy and independence of the TPA; identify trends in the
   audit findings; consider whether findings reveal issues with respect to personnel, policies,
   corporate governance, training, systems, or equipment; assess whether a continual improvement
   process is in place to address audit findings; and determine whether the Company’s internal audit
   process is sufficient to accomplish the objectives of the ECP. The CAM also will utilize
   information gathered during vessel and shoreside visits to evaluate TPA and RAAS audit reports.

          3. Interviews, Site Visits, and Events

           During the first year of the monitorship, the Company and the CAM agreed that the CAM
   should conduct interviews of corporate executives and key personnel from each of the operating
   groups, each of the brands, and the CSMART training facility. Consistent with the ECP, see
   e.g., ECP §§ III.-V., VI.A., VI.B.2., VI .F.6-7., the purpose of these interviews was to gather and
   assess information on the structure, management, culture, and systems of each operating line, as
   well as the All Brands Group and the Company as a whole; engage with corporate executives
   and employees on their role in implementing the ECP and corporate compliance generally;
   explore management views on compliance-related issues; and gather additional information
   regarding identified concerns or incidents.

          While the CAM does not intend to repeat these foundational interviews conducted during
   ECP Year One, the CAM does intend to continue conversations with management and key
   personnel as necessary. The CAM also has been invited to attend certain corporate meetings and



                                                   5
CaseCONFIDENTIAL
     1:16-cr-20897-PAS Document 114 Entered on FLSD Docket 05/01/2019 Page 43 of 54
   NOT FOR DISCLOSURE BEYOND INTENDED RECIPIENTS



   events, such as: the August 2018 Environmental Control System Working Group meeting in
   Seattle; the September 2018 Environmental Officers’ Environmental Commitment Conference in
   Almere; the October 2018 Carnival Corporation Board Meeting; and the October 2018
   OLCM/CCM Quarterly Meeting. The CAM will consider attending additional Company
   meetings and events during the course of ECP Year Two. In addition, the CAM intends to visit
   Company offices consistent with gathering information relevant to the CAM’s ECP Year Two
   areas of focus.

          4. Vessel Visits

           The Superseding First Annual Work Plan provided for the CAM Team to conduct up to
   fifteen vessel visits per year for the duration of the monitorship. On July 13, 2018, the Court, “in
   response to Defendant’s violations of the Environmental Compliance Plan (ECP), including the
   continued use of undisclosed pre-audit teams,” “amended with the consent of the parties” the
   Special Conditions of Probation and the ECP to provide for an additional ten vessel and five
   shoreside visits during ECP Year Two. See Dkt. No. 75 at 1-2.

          During vessel visits, the CAM gathers information in an effort to “monitor CARNIVAL’s
   compliance with [the] ECP,” see ECP § VI.A; “to assess whether CARNIVAL has adequate
   management systems, particularly human and fiscal resources, in place to ensure regulatory
   compliance, correct non-compliance, and prevent future noncompliance,” see ECP § VI.B.2; to
   oversee the independence and activities of the TPA, see ECP § VI.F.1-2; and to “conduct a
   review of CARNIVAL internal environmental audits,” see ECP § VI.F.4.

            In its July 13, 2018, Order, the Court also ordered that “all future audits and ship visits by
   the Third Party Auditor and Court Appointed Monitor shall be unannounced,” and “[t]he parties
   are further directed to confer and inform the Court on or before August 1, 2018, regarding a plan
   as to how these additional audits and visits will be conducted. . . .” Dkt. No. 75 at 1-2. On
   August 2, 2018, the Company filed an Amended Notice with the Court stating: “Although the
   exact details of the plan for unannounced ship visits or audits are still being finalized, the parties
   have agreed on an interim basis to a general proposal, pending approval from this Court,
   whereby the CAM and TPA will continue to follow many of the same procedures employed in
   the past, namely that the CAM or TPA will notify the Company of their respective ship visits or
   audits on ‘short notice,’ generally no more than a week before the CAM or TPA is prepared to
   begin their respective ship visits or audits. The CAM or TPA shall contact Christopher Donald,
   the Company’s Corporate Compliance Manager, who will serve as the primary point of contact
   to facilitate the CAM’s or TPA’s ship visits or audits. Mr. Donald will also work with a
   designated representative(s) of the Company who is not associated with the implementation of
   the Environmental Compliance Plan (hereinafter ‘Designated Persons’) to assist the CAM and
   TPA in completing all necessary booking obligations. Mr. Donald and the Designated Persons
   will be required to keep all booking information in strict confidence.” Dkt. No. 78 at 1-2. The
   CAM will follow the procedure that is agreed to by the Parties and the Court.


                                                      6
CaseCONFIDENTIAL
     1:16-cr-20897-PAS Document 114 Entered on FLSD Docket 05/01/2019 Page 44 of 54
   NOT FOR DISCLOSURE BEYOND INTENDED RECIPIENTS



           The CAM Team vessel visits are not audits. The CAM Team visits are designed to,
   among other things: (1) assess the adequacy, quality, and value of TPA and RAAS audits; (2)
   assess whether the Company has adequately and promptly addressed Observations, Non-
   Conformities, or Major Non-Conformities previously identified in TPA or RAAS audits, or by
   classification societies, or in other findings related to environmental pollution control
   obligations; (3) evaluate the Company’s responses to the findings in the CAM and TPA First
   Annual Reports; (4) gather data relevant to the focus areas identified in the CAM First Annual
   Report; and (5) assess the overall effectiveness of the Company’s efforts to provide the training,
   equipment, resources, and support to the ships, so that those onboard are in a position to meet the
   ECP obligations to which the Company agreed. To do so, the CAM expects that these vessel
   visits generally will involve opportunities: to speak with shipboard personnel; to review incident
   investigation processes and corrective actions; to review actions taken in response to prior audit
   findings; to review vulnerability assessments and their implementation; to review training and
   supervision efforts and their effectiveness; and to look at machinery spaces, pollution prevention
   equipment, and documents.

           Because the activities outlined above will take place simultaneously in various areas of
   the ship, the CAM anticipates that two to four CAM Team members will attend each visit.
   Consistent with past practice, vessel visit participants will include the CAM or a designee, a
   CAM attorney, and at least one technical consultant. Vessels may be visited more than once.

           Below is a description of the types of vessel visits planned by the CAM. In connection
   with each of these types of vessel visits, there will be work conducted to prepare for the visit and
   work conducted to memorialize and follow up on items from the visit. In addition, twice per
   year, the CAM and key CAM Team members will meet with the TPA team to review and discuss
   the conduct and findings of the vessel and shoreside audits and visits.

                     a.      TPA Audit Ride-Alongs

           The CAM Team plans to accompany the TPA on a certain number of TPA vessel audits.
   The purpose of these visits will be to inform the CAM’s assessment of the independence and
   rigor of the TPA audits and auditors. 6 During these audit ride-alongs, CAM Team members
   primarily will observe the TPA’s audit activities, and may gather information independently.

                     b.      TPA Follow-up Visits

         The CAM Team plans to perform follow-up visits to vessels previously audited by the
   TPA. The purpose of these visits will be two-fold. First, the CAM Team will assess whether the
   TPA’s prior audit on a particular vessel was independent, rigorous, and in accordance with the
   TPA’s planned audit process. Second, the CAM Team will assess the Company’s support for

   6
       During ECP Year One, the CAM Team accompanied the TPA on three TPA vessel audits.



                                                         7
CaseCONFIDENTIAL
     1:16-cr-20897-PAS Document 114 Entered on FLSD Docket 05/01/2019 Page 45 of 54
   NOT FOR DISCLOSURE BEYOND INTENDED RECIPIENTS



   and compliance with the ECP by, among other things: (1) gathering information from interviews
   with crew-members; (2) reviewing whether adequate systems and resources are in place and are
   designed to ensure regulatory compliance, correct non-compliance, and prevent future non-
   compliance; (3) reviewing the substance and effectiveness of prior RAAS audits; (4) reviewing
   actions taken in response to audit findings and other identified violations of the ECP, including
   Marine Environmental Protection Requirements; and (5) gathering information relevant to the
   CAM’s ECP Year Two areas of focus.

                 c.      CAM-Specific Vessel Visits

           The CAM Team plans to visit vessels that the TPA has not audited. During these visits,
   the CAM Team will assess the Company’s support for and compliance with the ECP by, among
   other things: (1) gathering relevant information from interviews with crew-members; (2)
   reviewing whether adequate systems and resources are in place and are designed to ensure
   regulatory compliance, correct non-compliance, and prevent future non-compliance;
   (3) reviewing the substance and effectiveness of prior RAAS audits; (4) reviewing actions taken
   in response to audit findings and other identified violations of the ECP, including Marine
   Environmental Protection Requirements; and (5) gathering information relevant to the CAM’s
   ECP Year Two areas of focus.

                 d.      RAAS Audit Ride-Alongs

            The CAM Team plans to accompany the RAAS auditors on scheduled RAAS vessel
   audits. The purpose of the CAM Team visits will be to fulfill the requirement that the CAM
   assess whether the RAAS audit process accomplishes the objectives of the ECP, including any
   areas for improvement with respect to the performance of RAAS audits. During these ride-along
   visits, CAM Team members primarily will observe the RAAS audit activities, and may gather
   information independently.

                 e.      Additional Court-Ordered Vessel Visits

           During the Court Status Conference held on July 11, 2018, the Court ordered the CAM
   and/or TPA to perform an additional ten vessel visits during ECP Year Two; this was
   memorialized in the Court’s Order of July 13, 2018. See Dkt. No. 75 at 1-2. Based on
   consultation with the TPA, the CAM and the TPA will conduct five visits each. The CAM Team
   may accompany the TPA on some of the court-ordered vessel visits the TPA performs, and some
   vessel visits may be conducted jointly by the CAM and TPA. The CAM Team and the TPA are
   collaborating on the logistics for these additional visits.

          5. Shoreside Facility Visits

          The Superseding First Annual Work Plan provides for the CAM to conduct up to five
   shoreside visits annually in order to “monitor CARNIVAL’s compliance with [the] ECP,” see



                                                   8
CaseCONFIDENTIAL
     1:16-cr-20897-PAS Document 114 Entered on FLSD Docket 05/01/2019 Page 46 of 54
   NOT FOR DISCLOSURE BEYOND INTENDED RECIPIENTS



   ECP § VI.A; “to assess whether CARNIVAL has adequate management systems, particularly
   human and fiscal resources, in place to ensure regulatory compliance, correct non-compliance,
   and prevent future noncompliance,” see ECP § VI.B.2; to oversee the independence and
   activities of the TPA,” see ECP § VI.F.1-2; and to “conduct a review of CARNIVAL internal
   environmental audits,” see ECP § VI.F.4.

          On July 13, 2018, “in response to Defendant’s violations of the Environmental
   Compliance Plan (ECP), including the continued use of undisclosed pre-audit teams,” the Court
   ordered five additional shoreside visits for the CAM and/or TPA. See Dkt. No. 75 at 1-2. After
   consultation with the TPA, the CAM and the TPA determined that the CAM would lead these
   shoreside visits, and that the TPA may participate in some or all of these shoreside visits as
   appropriate.

           The CAM Team shoreside visits are not audits. The CAM Team visits are designed to,
   among other things: (1) assess the structure, management, culture, and systems of the All Brands
   Group and each operating line or group; (2) review the Company’s commitment and efforts to
   create a sustainable environmental compliance program; (3) assess the adequacy, quality, and
   value of TPA and RAAS audits; (4) assess whether the Company has adequately and promptly
   addressed Observations, Non-Conformities, or Major Non-Conformities previously identified in
   TPA or RAAS audits, or by classification societies, or in other findings related to environmental
   compliance obligations; (5) evaluate the Company’s responses to the findings in the CAM and
   TPA First Annual Reports; and (6) gather data relevant to the focus areas identified in the CAM
   First Annual Report. To do so, the CAM expects that these shoreside visits generally will
   involve opportunities to speak with shoreside management and personnel and to review relevant
   systems, policies, procedures, initiatives, databases, and documents. These visits will not,
   however, track the extensive checklist examinations conducted by TPA and RAAS auditors.

          The CAM anticipates that most shoreside visits will require two to four CAM Team
   members. Participants will include the CAM or a designee, CAM attorneys, and one or two
   technical or accounting advisors to the CAM. There may, however, be occasions where it is
   necessary for more than four CAM Team members to attend a shoreside visit.

           Below is a description of the types of shoreside visits planned by the CAM. In
   connection with each of these types of shoreside visits, there will be work conducted to prepare
   for the visit and work conducted to memorialize and follow up on items from the visit. In
   addition, twice per year, the CAM and key CAM Team members will meet with the TPA team to
   review and discuss the conduct and findings of the vessel and shoreside audits and visits.

                 a.      Attending TPA Shoreside Audits

           During at least one shoreside visit, the CAM Team will accompany the TPA on a
   regularly-scheduled TPA shoreside audit. Pursuant to the ECP, the CAM will assess whether the



                                                  9
CaseCONFIDENTIAL
     1:16-cr-20897-PAS Document 114 Entered on FLSD Docket 05/01/2019 Page 47 of 54
   NOT FOR DISCLOSURE BEYOND INTENDED RECIPIENTS



   TPA is conducting independent and rigorous audits in accordance with its planned audit process
   by observing the TPA’s audit activities and its interactions with the Company. During
   attendance at TPA shoreside audits, CAM Team members primarily will observe the TPA’s audit
   activities, and may gather information independently.

                  b.      Attending RAAS Shoreside Audits

            During at least one shoreside visit, the CAM Team will accompany the Company’s
   internal RAAS personnel on a scheduled RAAS shoreside audit. Pursuant to the ECP, the CAM
   will assess the quality of the RAAS audit, the effectiveness of prior RAAS audits, and the ability
   of Carnival’s internal audit process to accomplish the objectives of the ECP. During attendance
   at RAAS shoreside audits, CAM Team members primarily will observe the RAAS’s audit
   activities, and may, to a limited extent, gather information independently.

                  c.      CAM Team Shoreside Visits

           CAM Team shoreside visits will address the resources designated to ensure regulatory
   compliance, correct non-compliance, and prevent future non-compliance. Accordingly, the
   CAM Team’s visits will include: (1) gathering relevant information from interviews with
   management and employees; (2) reviewing the resources devoted to environmental compliance
   and relevant operations; (3) reviewing actions taken in response to the CAM’s ECP Year One
   findings; (4) assessing the rigor and adequacy of prior TPA and RAAS audits; (5) reviewing
   actions taken in response to prior audit or CAM findings; (6) following-up regarding certain
   identified violations of the ECP, including Marine Environmental Protection Requirements; and
   (7) collecting information relevant to the CAM’s Year Two areas of focus.

                  d.      Additional Court-Ordered Shoreside Visits

           For the five additional shoreside visits ordered by the Court, the CAM Team—in
   collaboration with the TPA, as appropriate—primarily will concentrate on the ECP Year Two
   areas of focus that relate to shoreside responsibilities. These areas are: (1) internal
   investigations; (2) training; (3) resources for operations and compliance; (4) shoreside support
   for vessels; (5) personnel, in particular Environmental Officers, engineers, and ratings; and
   (6) Company vessel visit programs. In addition, these additional visits may involve follow-up on
   additional systemic issues identified by the TPA, such as deficiencies in policies and procedures
   and continuous improvement efforts, or areas of inquiry that arise during the course of the year.

          6. Compliance Culture Assessment

           As directed by the Court, and consistent with discussions held by the CAM with the DOJ
   and with the Company, the CAM will oversee the implementation of a culture survey to aid the
   efforts of all parties in assessing both the strengths and the opportunities for improvement in the
   Company’s compliance culture. See Superseding First Annual Work Plan, n. 3. This culture


                                                   10
CaseCONFIDENTIAL
     1:16-cr-20897-PAS Document 114 Entered on FLSD Docket 05/01/2019 Page 48 of 54
   NOT FOR DISCLOSURE BEYOND INTENDED RECIPIENTS



   survey effort supports the CAM’s mandate to monitor the Company’s compliance with the ECP,
   see ECP § VI.A, and to assess whether the Company has adequate systems in place to ensure
   regulatory compliance, correct non-compliance, and prevent future non-compliance, see ECP
   § VI.B.2.

           In connection with this effort, the CAM is examining prior Company culture survey
   findings and the Company’s responses to those findings. This review will assist the CAM in
   identifying potentially recurring culture issues and help inform the development of the CAM’s
   compliance culture survey. The CAM also will review actions the Company has taken to address
   prior survey findings, and will assess the effectiveness of those actions.

           On June 27, 2018, as agreed by the Government and the Company, the CAM retained
   culture consultant Propel AS to develop and implement the CAM’s compliance culture survey.
   Propel AS is skilled in the delivery of maritime culture surveys and is developing an appropriate
   survey instrument designed to measure the Company’s compliance culture. While safety culture
   surveys routinely are conducted in the maritime and many other industries, the focus of this
   culture assessment will be the interrelated obligations of safety, health, and environmental
   compliance. It also will be tailored to account for the issues and challenges particular to
   maritime operations. The Company and the CAM are working closely and collaboratively on
   this effort.

            Planning and development of the survey instrument will be completed by the end of
   October 2018. An initial survey will be conducted from November 2018 to March 2019. The
   survey administration will be conducted in two phases to increase participation, and is intended
   to provide a baseline for assessing the Company’s corporate compliance culture. Following the
   first survey administration, from January 2019 to April 2019, Propel AS will conduct focus
   groups. These sessions are intended to clarify observed survey trends and responses. While the
   CAM and the Company will work collaboratively to identify the final target population, Propel
   AS has the capability to survey over 124,100 individuals, and plans to conduct focus groups on
   nine vessels and five shoreside locations. Propel AS will prepare a report to be presented to the
   CAM and the Company. The target date for this report is April 2019. Propel AS will conduct a
   second survey before the completion of the five-year probationary period in order to assess the
   Company’s progress in creating a sustainable culture of compliance.

          7. Reporting

          The ECP provides for two types of CAM reporting obligations: (1) annual reports, see
   ECP § VI.F.3; and (2) reporting of specified events to the Interested Parties, see ECP §§ III.D,
   VI.F.6. In addition, the Court ordered the CAM to provide quarterly reports (except during
   quarters in which an annual report is prepared). See Orders dated April 10, 2018, and April 26,
   2018.



                                                   11
CaseCONFIDENTIAL
     1:16-cr-20897-PAS Document 114 Entered on FLSD Docket 05/01/2019 Page 49 of 54
   NOT FOR DISCLOSURE BEYOND INTENDED RECIPIENTS



                 a.      Annual Reports
           In accordance with ECP Section VI.F.3, the CAM will prepare an annual report for
   submission to the Company and Interested Parties regarding: (1) the audits conducted by the
   TPA; (2) information pertaining to the Company’s capabilities to meet the objectives of the ECP;
   and (3) the Company’s internal audits and trend analyses. See ECP § VI.3.-5. Consistent with
   the CAM First Annual Report, the CAM’s report will contain findings and describe future areas
   of focus. This report is scheduled to be submitted for non-binding comments to the Company
   and the Government by June 5, 2019. A final report is to be submitted by June 19, 2019.

                 b.      Interested Party Reporting

           ECP Sections III.D and VI.F.6 require the CAM to report the following categories of
   information to the Interested Parties: Major Non-Conformities; certain Environmental Open
   Reports; and failures of the Company to act on, as appropriate, an Audit Finding or TPA
   recommendation. In connection with this requirement, the CAM Team members assess and
   track incidents and findings reported by the Company, identified by the TPA, or otherwise
   identified by the CAM Team. The CAM provides the required information to the Interested
   Parties on a regular basis.

                 c.      Quarterly Reports

           In accordance with the Court’s Orders of April 10, 2018, and April 26, 2018, the CAM
   will prepare quarterly reports (except in quarters during which an annual report is due). The
   CAM anticipates that these quarterly reports may, among other things, provide: (1) an update on
   issues identified by the Court; (2) an update on the CAM’s identified areas of focus; (3) an
   update on any actions taken by the Company to address the CAM’s annual report findings; (4) an
   update on any significant actions or initiatives related to the Company’s progress toward meeting
   the objectives of the ECP; and (5) an analysis of significant environmental incidents and audit
   findings that occurred during the quarter. The CAM will provide copies of the quarterly reports
   for non-binding comment to the Company and Government ten business days prior to finalizing
   the quarterly reports. The first CAM quarterly report is due September 21, 2018, and will be
   provided to the Company and Government for comment by September 7, 2018.

          8. Strategic Planning and Resources for Operations and Compliance

           During the July 11, 2018, Status Conference, the Court identified the Company’s
   strategic planning as an additional area of focus for the CAM: “[O]ne thing that I’m grappling
   with is how do I—how does the company demonstrate that environmental is really a part of its
   overall strategic plan for the company? . . . [M]aybe it would be helpful if Mr. Solow could
   speak with you about and be more educated as to understanding the big picture, because that’s at
   the—that’s what drives the goals for the company.” Status Conf. Tr. at 87 (July 11, 2018). The




                                                  12
CaseCONFIDENTIAL
     1:16-cr-20897-PAS Document 114 Entered on FLSD Docket 05/01/2019 Page 50 of 54
   NOT FOR DISCLOSURE BEYOND INTENDED RECIPIENTS



   Court further instructed: “I need for Mr. Solow to understand how the strategic plan is
   formulated, how it receives input, how it is carried out.” Id. at 92.

           In this context, the Court, in particular, seemed concerned about how resources are
   allocated to environmental compliance. See id. at 34 (“When the company is looking at its
   strategic planning, that needs to be, what is the component there. And I’m concerned, as I
   looked at Admiral Burke’s assessment of one particular problem, is that it was excessive
   frugality, is that there is, unfortunately, the drive to maximize revenues and profits at the expense
   of being a good corporate citizen across the world.”); see also id. at 46-47 (“[W]hen you hear
   ‘excessive frugality,’ then you only spend the money on what you value. . . . And what it’s
   saying is you don’t value the environment, and how do I get that to be something that one is
   willing to pay for? We all make those decisions with our pocketbook.”)

           The Court’s July 13, 2018, Order further provided: “Before the next Quarterly Status
   Conference, the appropriate representatives from Defendant shall meet and confer with the Court
   Appointed Monitor to discuss how the companies’ long-term strategic plans are formulated and,
   specifically, to discuss how environmental compliance has been made part of those plans and
   how protection of the environment is being incorporated as a priority into the companies’
   strategic plans and culture in a long-term, sustainable manner.” Dkt. No. 75 at 3.

           In accordance with this Order, the CAM intends to review the Company’s current
   strategic planning process and how the strategic plans provide for long-term sustainable
   environmental compliance. The CAM anticipates that it will analyze a variety of inputs to assess
   the Company’s strategic plans, including how the Company allocates financial resources for
   compliance as compared with other areas.

          Consistent with the Court’s inquiry about how the Company incorporates environmental
   compliance into its strategic planning, an important aspect of the CAM’s assessment will be
   examining Company expenditures, including but not limited to the ECP-required Covered Vessel
   budgets and the process for OLCM budget certifications per ECP Sections III.A.9 and III.A.10.
   The CAM intends to retain a forensic accountant to assist in this effort.

          9. Corporate Structure and CCM Authority

           One of the CAM’s findings in the CAM First Annual Report was that individuals
   throughout the Company report that the Company’s complex corporate structure and lack of
   centralization impede efforts towards continuous improvement. The CAM also found that many
   individuals sought greater clarity as to responsibility, accountability, and authority for
   environmental compliance. Part of this finding grew out of the recognition that the Company has
   not given the CCM the ECP-required “authority to ensure full implementation of [the] ECP.”
   ECP § III.A.2.




                                                    13
CaseCONFIDENTIAL
     1:16-cr-20897-PAS Document 114 Entered on FLSD Docket 05/01/2019 Page 51 of 54
   NOT FOR DISCLOSURE BEYOND INTENDED RECIPIENTS



          The Court viewed this finding as one of significant concern during the July 11, 2018
   Status Conference. See Status Conf. Tr. at 42 (July 11, 2018) (“the lack of centralization issue
   and the authority of Chris Donald; and my concern there is, I can see the problem, I don’t know
   how to fix it”). The Court’s July 13, 2018, Order further required: “On or before September 5,
   2018, the Defendant will provide a plan as to how Carnival and its brands will address the
   challenge of corporate structure set forth in the First Annual Report of the Court Appointed
   Monitor, including prioritizing and standardizing environmental compliance across the company
   and establishing a Corporate Compliance Manager with both responsibility and authority over
   environmental policy and the Environmental Compliance Plan.” Dkt. No. 75 at 2.

           The CAM will review the Company’s plan provided in response to the Court’s Order.
   The CAM expects to discuss the plan with the Company, and will follow the implementation of
   the plan over time. The CAM also may observe the CCM (or other personnel with key
   environmental compliance roles) at work over the course of up to a week in an effort to ascertain
   how the role of environmental compliance fits within the Company’s operations. The CAM will
   also assess the effectiveness of the plan, as implemented, in remedying the finding that the
   Company’s structure, including the authority of the CCM, is a barrier to sharing of best practices
   and to the goal of continuous improvement.

          10. Investigations
            As discussed in the CAM First Annual Report, the Company, recognizing weaknesses in
   its internal incident investigation process, engaged DNV GL, a classification society with
   maritime advisory services, to review the Company’s investigation process and to provide
   recommendations for improvement. DNV GL issued a report with detailed findings and
   recommendations in May 2018. Following the July 11, 2018, Status Conference, the Company
   was ordered to provide, on or before September 21, 2018, a proposed timeline for establishing
   and implementing these recommendations. See Dkt. No. 75 at 2. Prior to the Court’s deadline of
   September 21, 2018, the CAM expects to meet with the CCM and the Chief Audit Officer to
   learn about the proposed timeline for implementing the DNV GL recommendations.

           The CAM Team will work closely with the CCM and the Chief Audit Officer to develop
   methods to track the Company’s progress in implementing these recommendations in ECP Year
   Two. In coordination with this review, the CAM plans to focus on a RAAS Level 3 or 4
   investigation. The CAM’s work will include meetings to discuss the challenges of the
   investigations process. In addition, during visits to vessels and shoreside facilities, the CAM
   Team will also focus on incident investigation processes and related training.




                                                   14
CaseCONFIDENTIAL
     1:16-cr-20897-PAS Document 114 Entered on FLSD Docket 05/01/2019 Page 52 of 54
   NOT FOR DISCLOSURE BEYOND INTENDED RECIPIENTS



          11. Training

           As noted in the CAM First Annual Report, during the April 19, 2017, Sentencing
   Hearing, the Court emphasized the importance of training, noting that “training needs to be for
   everyone and it needs to be on an annual basis and it needs to be training similar to that in the
   military where it becomes instinctive that there is a call and a response; it is so ingrained in the
   individuals, each member of the crew is committed to the environment.” Sentencing Hr’g Tr. at
   13 (Apr. 19, 2017).

            The ECP has numerous training requirements, and the Company invested significant
   resources in this training. The Company reports that it is employing a third party to review and
   revise the substance of its Environmental Officer and other trainings. The Company also reports
   that it is integrating environmental requirements and related issues into the existing training for
   its deck and technical officers. Going forward, the CAM will continue to review the Company’s
   environmental and ECP-related training for all personnel. The CAM will do this by visiting the
   Company’s CSMART training center; holding discussions with key employees and consultants
   involved in developing relevant trainings; gathering information on training content and efficacy
   during vessel and shoreside visits; and reviewing the Company’s training materials and
   initiatives.

          The CAM Team is scheduled to visit the Company’s CSMART training facility in
   Almere in September 2018 to attend the Environmental Officers’ Environmental Commitment
   Conference. While there, the CAM Team also will observe ongoing trainings and meet with
   personnel involved in trainings. The CAM Team anticipates that it will return to CSMART later
   in ECP Year Two to review trainings revised after third party review and to assess the
   Company’s response to TPA audit findings related to its Environmental Officer courses.

         In addition, the CAM plans to examine the training of ratings, which primarily is
   conducted by third-party manning agencies. This will be done during one or more visits to
   manning agencies, as described below.

          12. Personnel

          The ECP recognizes the critical role personnel play in ensuring compliance with
   environmental requirements. For example, pursuant to the ECP, the Company has agreed to
   supplement vessel crews in the event inadequacies in the size or capability of the crew
   contributes to an inability to meet the objectives of the ECP. See ECP § I.F. During ECP Year
   One, the CAM received information suggesting the Company faces challenges with respect to
   availability and retention of qualified personnel.

           To assess whether personnel issues are impacting the Company’s ability to meet the
   objectives of the ECP, the CAM primarily will examine the following three categories of
   personnel: (1) Environmental Officers; (2) engineers; and (3) ratings. For each category, the



                                                    15
CaseCONFIDENTIAL
     1:16-cr-20897-PAS Document 114 Entered on FLSD Docket 05/01/2019 Page 53 of 54
   NOT FOR DISCLOSURE BEYOND INTENDED RECIPIENTS



   CAM will evaluate whether and how the Company is managing personnel in a manner that
   provides for long-term sustainable compliance with the ECP and with Marine Environmental
   Protection Requirements. This will include analyzing a variety of factors, including staffing
   levels, qualification levels, retention levels, workload, job satisfaction, and compensation.

           The CAM Team will gather information relevant to this area of focus primarily through:
   document and data requests; discussions with employees, particularly Environmental Officers,
   engineers, and ratings; discussions with shipboard and shoreside personnel involved in the
   recruitment, employment, training, management, and retention of Environmental Officers,
   engineers, and ratings; and one or more visits to a manning agency engaged by the Company to
   recruit and train ratings.

           13. Company Vessel Visit Programs

           As detailed in the CAM First Annual Report, two Company-created vessel visit programs
   came to light during ECP Year One that attracted the attention of the Court. The first program,
   implemented during the first-half of ECP Year One, involved the Company sending engineers to
   vessels in order to inspect and correct ECP issues shortly before TPA audits. Following the
   December 4, 2017, Status Conference, the Company terminated this initial pre-TPA audit
   program.

           Shortly thereafter, it appears that Holland America Group launched a second vessel visit
   program called the Environmental Ship Assistance Visit Program (“ESAVP”). Like the initial
   pre-TPA audit program, the Company did not disclose the ESAVP to the Interested Parties, the
   CAM, the TPA, or the Court. 7 During the April 3, 2018, Status Conference, the Court and the
   Government expressed concern about the nature of these programs and the lack of transparency
   about these programs. The Court observed that these efforts “tainted” the integrity of audits
   performed in the wake of ship visits. See Status Conf. Tr. at 11 (July 11, 2018) (“They’re all
   tainted.”); see also id. at 39 (the pre-audit programs raised “concerns as to whether or not the
   audit findings that we have are really the true picture.”) The CAM committed to review these
   programs and to report back to the Court and the Interested Parties.
          In response to requests made by DOJ regarding the vessel visit programs, the Company
   has produced 10,233 responsive documents to date. The CAM is conducting a review of these
   documents to identify records of interest. The Company has indicated that there will be further
   production of documents, as well as the production of a privilege log. The Court ordered that the
   remaining documents and privilege log be produced by September 5, 2018. The Company also
   offered to provide a presentation with respect to these, and other, vessel visit programs. Once



   7
    The CAM understands that other operating lines and/or brands also may have launched, or started to develop,
   vessel visit programs similar to the ESAVP. These programs also were not disclosed to the Interested Parties, the
   CAM, the TPA, or the Court.



                                                           16
CaseCONFIDENTIAL
     1:16-cr-20897-PAS Document 114 Entered on FLSD Docket 05/01/2019 Page 54 of 54
   NOT FOR DISCLOSURE BEYOND INTENDED RECIPIENTS



   the CAM Team has reviewed the documents produced and the privilege log, the CAM will
   consider whether further inquiries are needed.




                                               17
